Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 1 of 73 PageID: 9929




                            Exhibit 14.16
                    United States’ Motion to Enter Consent Decree,
        United States v. Alden Leeds, Inc. et al., Civil Action No. 22-7326 (D.N.J.)
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 2 of 73 PageID: 9930




                  EXHIBIT A-58
          AppendixA to OxyChem's Comments in Opposition to Proposed Consent Decree,
           United States v. Alden Leeds, Inc., et al., Civil Action No. 2:22-cv-07326 (D.Nj.)




                                                                                            ALCD-PUBCOM 0006853
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 3 of 73 PageID: 9931


                                       City of Newark, New Jersey
                                         Feasibility Study

             POLLUTION ABATEMENT
                  PROGRAM
                                                                     LOCKWOOD STREET OUTFALL

                     BROWN STREET OUTFALL


                       N
                                                         AVE.
                                         V~StER                      t                            BLANCHARD
                                                                     =   H                        STREET
                                                              w
                                                                                                  OUTFALL
                                                  AVE.
                    yRAYM N                                     G7
                                         I    ST.


                                              S          ~q


                                   A~2
                                                                         AVE.                  ROAN
                                                                                                  NOKE
                                                                                               OUTFACE



                                                  e°y


                              W! soy




                                         Clinton Bogert Associates
                                              Consulting Engineers
                                                      September, 1978
                                                    Revised January, 1979




                                                                                                               TSI-DBR-00040196
                                                                                                              ALCD-PUBCOM 0006854
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 4 of 73 PageID: 9932


                                                                                                     2125 9 44. 676   .   CA6 OR7 LEE,NE NGFOR Y EENJ
CLINTONBOG
'~
 Syy ➢77 ~J 9~ '~7 ER                 li
                                              ASSOCIATES
                                             l'! ~7 J  4r ■ L1            i   G                      1201) 94476 T6       CABEE: 60GERTENG PORTLEENJ

PARTNERS                                      ASSOCIATES
!IAN L   BOGERT                               JOR ANNES DEWAAL

EERBERT L   KALFMAN                           FRANCIS I    OO SROWOLSKI
                                              IGNAZ POTTENBUCNER                  CONSULTING
                                                                                  E N GIN   E E AS
PRINCIPAL ASSOCIATES                          OANIEL 5    GREENE

WAYNE ECCINS                                  n£RB£RT LANOESMAN
JOHN N   SCARINO                              UMBERTO A     MILLETARI
                                              W ILL AM WHEELER




                                                                                                            January 24, 1979



                      Honorable Kenneth A. Gibson, Mayor
                      City of Newark
                      City Hall
                      920 Broad Street
                      Newark, New Jersey 07102

                                                                                  Re:        Pollution Abatement

                       Dear Mayor Gibson:

                            In accordance with our contract dated February 15, 1978, sub—
                       mitted herewith is our report on the sources of pollution discharging
                       to the lower Passaic River during dry weather from the Roanoke Avenue
                       combined sewer system and the Blanchard, Lockwood, and Brown Street
                       storm sewer systems. Each system is discussed in a separate section
                       which contains:

                           (1) A description of the existing sewers.
                           (2) Findings of the physical inspection.
                           (3) Conclusions and recommendations applicable Ito that system.

                            Appropriate additional items are included as follows:

                           (1) For the Roanoke Avenue combined sewer system (Section III),
                               a hydraulic analysis is presented. Significant conclusions
                               are:

                                (a)        all dry weather overflows may not be eliminated by re—
                                           habilitation of the existing system alone; but either
                                           flow routing, using storage available in the existing
                                           sewers, or increased interceptor capacity is required;
                                           and,

                                (b)        a faulty regulator results in all sewage flows dis—
                                           charging untreated to the Passaic River.

                           (2) For the Blanchard Street storm sewer (Section IV), the re—
                               sults of dry weather flow sampling and gauging, smoke test—
                               ing and T.V. inspection are presented. Significant conclu—
                               sions are the need to:

                                (a)        replace about 1,300 feet of existing 24" storm sewer
                                           which appears in danger of collapse,

                                (b)        improve housekeeping around industrial railroad sid—
                                           ings, and,




                                                                                                                                        TSI-DBR-00040197
                                                                                                                                       ALCD-PUBCOM 0006855
        Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 5 of 73 PageID: 9933


                  Honorable Kenneth A. Gibson, Mayor       ~„~             January 24, 1979
                  City of Newark                                           Page 3
                  City Hall                                      ~I
                                                          EN GS EERS
                  920 Broad Street                        ENGON EERS

                  Newark, New Jersey   07102




I
                       We would be pleased to meet with you to review any matters con-
                  tained herein. We wish to express our appreciation of the assistance
                  given us by members of your staff, particularly Mr. Robert Benz, in
                  carrying forward this work.

                                                       Very truly yours,

                                                       CLINTON BOGERT ASSOCIATES

I


                                                            Herbert L. Ka man
                                                            P.E., N.J. LiE. No. 13647


I
                   HLK:mmb
                   Enclosure




I

I

    1


I

                                                                                           TSI-DBR-00040198
                                                                                          ALCD-PUBCOM 0006856
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 6 of 73 PageID: 9934




                                          Table of Contents


                                                                     Page No.


                     Letter of Transmittal

               I.    Introduction.•• ••............................. a a 1

               11.   Scope of Work.................................... 3

               III. Roanoke, Doremus, and Wilson Avenue Sewers....... 4
                    A.   Existing Sewers............................. 4
                    B.   Physical Inspection Findings..............   5
                         1.   Avenue "P" Regulator and Roanoke
                              Outfall Sewer.......................... 5
                         2.   Roanoke Avenue Sanitary Sewer.......... 6
                         3.   Doremus Avenue Interceptor............. 6
                         4.   Wilson Avenue Interceptor.............. 7
                         5.   Roanoke Avenue Regulator............... 7
                    C.   Hydraulic Analysis.......................... 8
                         1.   Flow Measurement Methods............... 8
}                        2.   Observed Flow Rates.................... 8
                         3.   Diversion of Roanoke Flow to PVSC
                              Interceptor............................10
                         4.   Diversion Works........................14
                    D.   Conclusions and Recommendations.............17

               IV.   Blanchard Street.................................20
                     A.   Physical Inspection Findings................20
                     B.   Dry Weather Sampling and Flow Rates.........23
                     C.   Smoke Testing...............................24
                     D.   Television Inspection.......................25
                     E.   Conclusions and Recommendations.............26

                V.   Lockwood Street Outfall......., .................28
                     A.   Physical Inspection Findings................28
                          1.   Lister Avenue Sewer....................28
                          2.   Morris Canal Sewers....................29
                          3.   Euclid Avenue Sewer....................29
                          4.   Albert Avenue Sewer,.....,      .......30
                          5.   Lockwood Street Sewer..................30
                          6.   Lister Avenue Tide Gate................30
                          7.   Lockwood Street Outfall................31
                     B.   Dry Weather Flow Sampling and Flow
                          Monitoring........ .........•• • ••........32
                     C.   Smoke Testing...... ............••....••....34
                     D.   Television Inspection.......................35
                     E.   Conclusions and Recommendations.............38
                                             (continued)
                                                   i
                                                                                 TSI-DBR-00040199
                                                                                ALCD-PUBCOM 0006857
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 7 of 73 PageID: 9935




                                      Table of Contents
                                         (continued)


                                                               Page No.


           VI.   Brown Street............,.,.,.,....,
                 A.   Configuration........... ...................41
                 B.   Physical Inspection Findings................42
                 C.   Dry Weather Effluent Sampling...............44
                 D.   Conclusions and Recommendations.............45

           VII. General Recommendations.........................46
           VIII. Appendices                                     Following Text
                 A. Analytical Test Results
                 B. Letter From Robinson Pipe Cleaning
                     Company




                                            ii




                                                                             TSI-DBR-00040200
                                                                            ALCD-PUBCOM 0006858
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 8 of 73 PageID: 9936




                                      ILLUSTRATIONS
                                 (Following Appendices)


           A.   Plate 1 — Sanitary and Combined Sewer Configurations on Roanoke,
                Doremus and Wilson Avenues

           B.   Plate 2 — Sources of Pollution in Storm Sewer Systems on
                Blanchard, Lockwood and Brown Streets

           C.   Plate 3 — Diurnal Sewage Flow Patterns, Roanoke Avenue Outfall
                Sewer

           D.   Plate 4 — Diurnal Sewage Flow Patterns, Roanoke Avenue Outfall
                Sewer

           E.   Plate 5 — Diurnal Sewage Flow Patterns, Doremus Avenue
                Interceptor

           F.   Plate 6 — Diurnal Sewage Flow Patterns, Doremus Avenue
                Interceptor

           G.   Plate 7 — Diurnal Sewage Flow Patterns, Wilson Avenue
                Interceptor

           H.   Plate 8 — Diurnal Sewage Flow Patterns, Wilson Avenue
                Interceptor

           I.   Plate 9 — Flow Rates at the Lister Avenue Tide Gate Chamber




                                            1E1




                                                                               TSI-DBR-00040201
                                                                              ALCD-PUBCOM 0006859
 Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 9 of 73 PageID: 9937
El
1          I.   Introduction

1               Polluted liquid wastes are being discharged into the lower
           Passaic River from four sewers owned by the City of Newark.           These
           wastes include continuous discharges from the wet weather outfall of
           the Roanoke Avenue combined sewer, and the Blanchard Street and the
           Lockwood Street storm sewers, and intermittent discharges from the
           Brown Street sewer.    During dry weather, no flow should be discharged
           from the Roanoke Avenue outfall and only non-polluted water from the
           Blanchard Street, Lockwood Street, and Brown Street storm sewers,
           however, high levels of pollutants have been detected in the dry
           weather discharges at all four locations.        The following ranges of
           pollutant concentrations and pH have been reported by the Passaic
           Valley Sewerage Commissioners (PVSC) during the last two-years.


                                               Pollutant Concentration
                                                           (ppm)


           Location                    TSS           COD           BOD           pH
           Roanoke Avenue            5-1428    116-15600       102-6300        2.0-7.3
           Blanchard Street          5-1070    51-2815         7-420           1.9-8.2
           Lockwood Street           16-3148   119-3408        8-840           3.3-9.2
           Brown Street              7-93      42-352          16-135         6.2-9.8


                A non-functioning regulator
                                    g       causes the dry weather discharge
                                                                          g at
           Roanoke Avenue.     Illegal connections, surface chemical spillage and
           contaminated groundwater are the sources of pollutants detected in
           the three storm sewers.


                Water from the Passaic River may enter all four sewers with the
           incoming tide and dilute the pollutant concentration.         The pollutants
           may also be carried upstream of their entering points.        Polluted flow
           from the sewer increases in rate with the falling tide.         The highest



1                                                1


I
                                                                                       TSI-DBR-00040202
                                                                                      ALCD-PUBCOM 0006860
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 10 of 73 PageID: 9938




I
               pollutant concentration and flow rates can be expected at low tide.
               During this study, samples were obtained within the three storm se—
               wers systems at or near the times of low tide.   The analytical test
               results of these samples are included in Appendix A.


I



J
I

I
I
I
 I
[1
t
1                                                  2




                                                                                 TSI-DBR-00040203
                                                                                ALCD-PUBCOM 0006861
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 11 of 73 PageID: 9939

LM
           It.   SCOPE OF WORK


                 The PVSC industrial waste surveys for each industry in the tri-
           butary area have been reviewed and the probable pollutants in each
           industrial waste compared with those found in the sewer discharges.
           All manholes, regulators, tide gates, and inlets have been inspected.
           The condition and serviceability of sewerage facilities was noted.
            Connections to manholes and inlets and other sources of flow were
           located.   Spillage and housekeeping procedures at the various indust-
           rial facilities were observed.   Dry weather flow sampling points were
            selected, and dry weather flow sampled to isolate sources of pollu-
            tion entering the storm sewer systems.      Where possible, storm and
            sanitary sewers were smoke tested to locate cross connections, and
            the sections of storm sewer suspected of having industrial waste
            connections were inspected with closed circuit television.    In some
            reaches, television inspection was not possible because of physical
            blockages or waste pools resulting from irregular sewer grades.   The
            condition of the various pipes was determined and the location of
            improper or suspicious connections noted.    The results of these in-
            vestigations were analyzed and are presented in this report. Recom-
            mendations for eliminating all the sources of pollution identified by
            the described techniques are included.




I

I
I
I
                                                3




                                                                                     TSI-DBR-00040204
                                                                                    ALCD-PUBCOM 0006862
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 12 of 73 PageID: 9940


1
I         III. Roanoke, Doremus and Wilson Avenue Sewers


I         A.   Existing Sewers


               The present sewer layout is shown on Plate 1.    The manholes on

         Wilson Avenue are numbered consecutively from W-1 in the Avenue "P"
          intersection to W-9 on the westerly side of Doremus Avenue.       The

          manholes on Doremus Avenue are numbered consecutively from D-1 on the
          northerly side of Wilson Avenue to D-28 on the southerly side of the
          Roanoke Avenue regulator.    Changes made in 1951 to accommodate con-
          struction of the New Jersey Turnpike included construction of the
          Avenue "P" regulator on the 54-inch Roanoke Avenue combined sewer at
          a point approximately 1425 feet upstream of Doremus Avenue.   The re-

          gulator was planned to divert all dry weather flow to the Doremus
          Avenue interceptor through a new 24-inch sanitary sewer paralleling
          the 54-inch Roanoke Avenue combined sewer.    The combined sewer down-
          stream of the Avenue "P" regulator was converted to a wet weather
          outfall.   The 18-inch sanitary sewer in the northern portion of
          Doremus Avenue was connected to the new 24-inch sanitary sewer by an
          inverted siphon passing under the 54-inch Roanoke combined sewer and
          its flow bypasses the old Roanoke Avenue regulator which was sealed
          off and abandoned.     Sewage in the Doremus Avenue sewer flows to the
          Wilson Avenue interceptor and discharges to the PVSC interceptor.
          All excess wet weather flow in the Roanoke Avenue combined sewer was
          intended to overflow the Avenue "P" regulator weir and discharge to
          the Passaic River.




                                                LA




                                                                                    TSI-DBR-00040205
                                                                                   ALCD-PUBCOM 0006863
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 13 of 73 PageID: 9941




      B.   Physical Inspection Findings


           (1) Avenue "P" Regulator and
                                        Roanoke Outfall   Sewer

           The Avenue "P" regulator is not
                                           functioning.   Over two feet of
     dry, granular sediment blocks the
                                       regulator gate chamber and prevents
     flow between the diversion chamber and
                                             the Roanoke Avenue dry weather
     sewer. As a result, all flow in the
                                           Roanoke Avenue combined sewer
     enters the Passaic River through the
                                           Roanoke Avenue outfall. There
     is no visible evidence of chemical
                                          attack or deterioration of the
     concrete regulator structure.   The regulator mechanism is corroded
     and not functional.   A wooden overflow weir, provided in
                                                               the diver-
     sion chamber, is intact.   This weir does not cause the upstream pipe
      to surcharge above the crown in dry
                                            weather. It does reduce upstream
      flow velocity and causes
                               sedimentation. About 0.5 feet of primarily
      granular sediment was found in the
                                          combined sewer above the regula-
      tor. This material accumulates
                                       in dry weather and the lighter frac-
      tions, probably including most
                                      organic pollutants, may be flushed
     toward the Passaic River during
                                        relatively small rainfall events.
     Tests of wet weather flows in other
                                           areas indicate the flushing of
     such solids is accompanied by a
                                      large increase in BOD. High tides
     cause backup, reduce velocities, and
                                            cause sediment accumulation in
     the Roanoke Avenue outfall during
                                         dry weather. Some of this material
     may be carried away by the flow
                                      at low tide and some is scoured out
     by wet weather flows. About
                                  0.2 feet of primarily granular
                                                                   sediment
     was found in the outfall sewer
                                     downstream of the Avenue "P" regula-
     tor. The size of this sewer
                                  changes to 60-inch at a manhole on the
    easterly side of Doremus Avenue.
                                        Remnants of the brick dam, used to
    divert flow into the Roanoke
                                  Avenue regulator, were observed in this
    manhole. There are two tide gate
                                        chambers in the 60-inch outfall.
    Both tide gates can swing open
                                    but neither can close completely
                                                                        be-
    cause of sediment. No
                            deterioration of the concrete was visible in




                                          5




                                                                               TSI-DBR-00040206
                                                                               ALCD-PUBCOM 0006864
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 14 of 73 PageID: 9942




      the tide gate chambers.   A lump of bituminous material is partially
      blocking the discharge of the 60-inch outfall.


     (2) Roanoke Avenue Sanitary Sewer


           The 24-inch Roanoke Avenue sanitary sewer does not receive any
      flow at its upstream end because of the previously described blockage
      in the Avenue "P" regulator gate chamber.    The manhole in the 24-inch
      sanitary sewer immediately downstream of the regulator contains over
      two feet of dry sediment.      The sewer receives flow from the Pitt
      Consol Chemical Company downstream of that manhole.     About 0.5 feet
      of a black, tar-like sediment was found in the sewer downstream of
      the Pitt Consol connections.    The same black material was observed on
      the ground surface at the Pitt Consol plant.     This material was not
      evident upstream of the Avenue "P" regulator or in the Roanoke Avenue
      outfall.   Its source is evidently Pitt Consol.    Sampling and analysis
      done jointly by the PVSC laboratory and Pitt Consol also detected
      chemicals used at the plant in the Roanoke Avenue outfall.     However,
      no connections from Pitt Consol were found in the outfall.     Spillage
      appears to have contaminated the groundwater and some appears to be
      leaking into the outfall.   Groundwater pollution may also be leaking
      directly into Newark Bay.   Groundwater pollution was not investigated
      since it was outside the scope of this study.


      (3) Doremus Avenue Interceptor


           The Doremus Avenue interceptor receives flow from the Roanoke
      Avenue sanitary sewer.    Severe sedimentation was noted in this line.
      The first four lengths of 24-inch pipe upstream from Wilson Avenue
      (D-1 to D-5) were constructed on a reverse grade and the fifth length
      (D-5 to D-6) laid flat.     The invert at Wilson Avenue is 1.2 feet
      higher than the low point where the minimum flow depth is greater
      than half pipe.   Further upstream the sewer size changes from 24-inch
      to 22-inch and then to 20-inch in diameter.       Sediment depth in the


                                            6




                                                                                  TSI-DBR-00040207
                                                                                 ALCD-PUBCOM 0006865
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 15 of 73 PageID: 9943




I         22-inch and 20-inch pipe sections varies with gradient.   There is no
           sediment in the manhole inverts of the steeper sections of 22-inch
           pipe.    As the gradient decreases upstream, sediment depth in the
           22-inch line increases to about 0.5 feet.   Sediment accumulations in
           the 20-inch sewer vary from 0.5 feet to 1.4 feet near the Roanoke
           Avenue regulator.   The sediment found in the interceptor is the same
           black tar-like substance observed in the Roanoke Avenue sanitary
           sewer.    The cover is missing from the fifth manhole (D-5) upstream
           from Wilson Avenue.



1         (4) Wilson Avenue Interceptor


               Several of the Wilson Avenue interceptor manholes have been
           covered by construction activities at the PVSC treatment plant.
           Those manholes that were inspected had clean inverts and were flowing
           freely.   No backup into the Doremus Avenue interceptor was observed.
           Most of the flow in the Wilson Avenue interceptor is pumped from the
           Port Newark Area.



1         (5) Roanoke Avenue Regulator


               The Roanoke Avenue regulator was abandoned in 1951.      Several
           feet of dry sediment has accumulated in the regulator chamber.    The
           regulator mechanism is corroded and not functional.    The regulator
           structure appears to be sound.      There is no evidence of chemical
           attack or concrete deterioration.    The inlet and outlet pipes are
           sealed.




                                                7




                                                                                    TSI-DBR-00040208
                                                                                   ALCD-PUBCOM 0006866
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 16 of 73 PageID: 9944




1           C.   Hydraulic Analysis


                 (1) Flow Measurement Methods


                 Electronic flow meters were used to obtain diurnal flow patterns
           in the Roanoke Avenue combined sewer, the Doremus Avenue interceptor
            and the Wilson Avenue interceptor.    These meters were installed at
            the locations shown on Plate 1.   The inverts of the manholes used for
            monitoring were free of sediment.    There was tidal interference at
            the Roanoke outfall sewer monitoring point during each high tide.    No
            backwater or other flow interference was apparent at the monitoring
            points on Doremus and Wilson Avenue.     The continuous depth readings
            on the meter charts were converted to flow rates by use of the
            Manning equation.   Dye dilution techniques were not used to measure
            flow because of the fluorescence present in the waste and the possi-
            ble deterioration of the dye in the extremely acidic flow.    The sewer
            gradients at the monitoring points were field verified.      A friction
            factor (n) of 0.015 was used in this analysis.    The actual friction
            factors in these sewers may be higher because of joint misalignments
            and sediment depositions.    Flow rate is inversely proportional to
            friction factor.    If the actual friction factor is higher than 0.015,
            the actual flow rates in the sewers metered will be lower than those
            computed and the hydraulic capacities of the existing sewers will be
            lower by the same proportion.


           (2) Observed Flow Rates


                 The flow rates determined in the Roanoke outfall sewer during
            the period April 24, 1978 to May 30, 1978 are shown on Plates 3 & 4.
            These rates have been corrected to eliminate tidal effects.    Minimum
            flow rates were found about noon with higher rates in the morning and
            afternoon.   The flow meter data was supplemented by instantaneous
            measurements obtained before, during, and after the meters were



1                                                8


I
                                                                                       TSI-DBR-00040209
                                                                                      ALCD-PUBCOM 0006867
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 17 of 73 PageID: 9945
                                                                                                 LO




I
           installed.   Maximum peak dry weather flow rates of 2.2 mgd and mini—
           mum flow rates of 0.2 mgd were recorded.      The apparent constant flow
           rate over the weekend (April 29 and April 30) cannot be explained.
           The flow meter was checked           Thursday April 27 and found to be




                                           on
           operational.    On Monday, May 1, the battery and chart were changed
           and the calibration was checked.      No errors in calibration or timing
           were noted and that meter remained in service during the next week.
           Similar uniform and high discharges occurred at other unusual times
           for shorter periods.    Most of the flow in this sewer is discharged by
           two companies, Arkansas Chemical and Sun Chemical.         Unusual flow
           patterns may result from variations in processes and work shifts at
           these plants.

I               Plates 5 and 6 show diurnal flow patterns recorded in the
           Doremus Avenue interceptor during the period May 1 to May 5.         The
           flow meter malfunctioned on May 6 and no readings were obtained over
           the weekend.    Weekend data for April 22 and April 23 was included to
           show the effect of antecedent rainfall and springtides on the flow
           rate in the sewer.     The flow on April 22 was about double that of the
           preceding dry days.    The consistency with which higher flow rates
           coincide with higher tide periods indicates probable inflow caused by
           tide related fluctuations.     About two inches of rain fell on April
           19, saturating the ground and raising the river level.      At 8:15 PM on

1          April 22, the tide crested one foot above normal and flow in the
           sewer increased from below 0.8 mgd to 1.1 mgd.       Weekday flow rates
           generally fluctuate between 0.3 and 0.4 mgd with peaks of 0.5 mgd
           occurring at the times of high tide.       The lowest flow rate measured
           was approximately 0.2 mgd.


                Flow in the Wilson Avenue interceptor is pumped from the com—
           bined sewer system in the Port Newark area and discharges by gravity
           from the Doremus Avenue interceptor.       The diurnal flow patterns re—
           corded between May 23 and May 29 are shown on Plates 7 and 8.
           Rainfall during May was quite heavy, totaling almost 8 inches at


                                                  9



                                                                                        TSI-DBR-00040210
                                                                                       ALCD-PUBCOM 0006868
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 18 of 73 PageID: 9946




    Newark Airport, or more than 4 inches above normal.      However, the
    rainfall pattern was interesting when correlated with the measured
    flows.   About 1.2 inches of rain fell starting May 4 and extending
    through May 9; 1.75 inches on May 14 followed by 1.36 inches from May
    15 through May 18.   On May 24, 2.58 inches of rain fell of which 2.27
    inches fell prior to 4 p.m., and on May 25, 0.15 inches fell, mostly
    in the pre-noon hours.    Hence, the measured flow rates on May 23 were
    preceded by four essentially dry days, while the sharp drop in rates
    on May 26 occurred less than 12 hours after a major storm.         The
    measured flows of May 23 appear to more nearly represent normal flows
    while those of May 26 through May 29 reflect the low flows which
    should be anticipated during a major holiday (Memorial Day) weekend.
    These flows may largely reflect inflow/infiltration.    Tidal variation
    also appears to influence inflow to this sewer.         The effect of
    rainfall is evident in the measured data on May 24, when the Wilson
    Avenue interceptor was surcharged.     The flow-full capacity of the
    interceptor at the monitoring point has been estimated as equal to
    6.2 mgd.   Hence, the flow was greater than that amount.      The PVSC
    interceptor was not continuously monitored but no dry weather backups
    into Wilson Avenue were observed during spot inspections.


    (3) Diversion of Roanoke Flow to PVSC Interceptor


         The feasibility of diverting dry weather flow from the Roanoke
    Avenue combined sewer, as intended, through the Doremus and Wilson
    Avenue interceptors and into PVSC interceptor was analyzed.     It was
    assumed that the appropriate regulator would be restored to service
    and that the downstream sewers could be cleaned.          The limited
    metering indicated the peak dry weather flow rates in each sewer
    could be concurrent.     The peak flows in the 20-inch sewer on Doremus
    Avenue were obtained by instantaneous measurements.    The dry weather
    peak flows (excluding the May 26 flows) recorded are shown here-
    following:




                                          10




                                                                               TSI-DBR-00040211
                                                                              ALCD-PUBCOM 0006869
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 19 of 73 PageID: 9947




                                       Sewer Diameter     Peak Dry Weather
     Location                          in Inches          Flow Rate in mgd


     Wilson Avenue Interceptor               24                 6.2(1)

     Doremus Avenue Interceptor              22 & 24            1.1

     Doremus Avenue Interceptor              20                 0.5

     Roanoke Avenue Outfall Sewer            54                 2.2


                                       (1) Full Pipe - no surcharge


          As indicated by the measured flows between 10 and 11 p.m. of May
     25, higher peak dry weather flows in the Wilson Avenue interceptor
     than those of May 23 may be probable.      With a field verified sewer
     gradient between manholes W-9 and W-8 of 0.0025 ft/ft the flow-full
     capacity of the Wilson interceptor closely approximates 6.2 mgd.    The
     peak capacity of 4.5 mgd, cited in the PVSC Infiltration/Inflow
     Analysis, was computed for a monitoring point approximately 1500 feet
     downstream of manhole W-8.     This sewer is now being resurveyed by
     E.T. Killam Associates to verify both the estimated capacity and
     amount of I/I.


          If the Roanoke Avenue flow was redirected, peak flow rates at
     least as great as those shown below could occur.      These flow rates
     would exceed the capacity of the Doremus and Wilson Avenue intercep-
     tors and cause surcharging in both lines.      The hydraulic gradients
     required to force these flows through the sewers, and the resulting
     flow velocities are also shown below.




                                           11




                                                                                TSI-DBR-00040212
                                                                               ALCD-PUBCOM 0006870
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 20 of 73 PageID: 9948




                                           Peak Dry
                                           Weather
          Interceptor         Sewer Size   Flow Rate     Grade Line   Flow Velocity
          Location            in Inches    in mgd        ft/ft        in fps


          Wilson Avenue           24           8.4+        0.0046         4.3
           Doremus Avenue         24           3.3         0.00075         1.7
           Doremus Avenue         22           3.3         0.0011          1.9
I          Doremus Avenue         20           2.7         0.0012          1.9


                  Surcharging to the levels indicated below would be required to
           pass these flows through the system.


                             Height in Feet              Height in Feet
                             of Surcharge                of High Tide
           Manhole           Above Crown                 Above Flow
           Number            of Pipe                     Surface


           W-9                    3.6                          6.5
           D-6                    5.8                         5.3
           D-21                    3.2                         2.0
           D-28                   2.1                          0.4


I
                  It would accordingly be possible to restrict activation of over-
           flow devices to elevations equal to or slightly above the high tide.
           Due to the proximity of the Passaic River, industrial buildings in

I          the area are located several feet above the high tide elevation.
           of the building sewers observed in the manholes on Wilson and Doremus
                                                                                  All


           Avenues had drop connections.      Buildup of sediment is not anticipated
           in the building sewers because none of the connections inspected were
           below the computed levels of surcharge.       The height of surcharge is
           nominal and no damage is anticipated as a result of increased




I                                                    0




                                                                                         TSI-DBR-00040213
                                                                                        ALCD-PUBCOM 0006871
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 21 of 73 PageID: 9949




    internal pressures.    Infiltration rates would be reduced as internal
    pressures increase.


         The current cause of bypassing at Roanoke Avenue is the faulty
    Avenue "P" regulator. However, upon repair of the Avenue"P" regula-
    tor, extraneous flows could occasionally overload the restored down-
    stream sewers sufficiently to cause a backup and subsequent overflow
    at time of peak dry weather flow.    The flows in the Roanoke Avenue
    combined sewers could be transported to the PVSC treatment plant
    during off-peak hours without reducing the present infiltration
    rates.     This would require storage regulation in existing sewers and
    could be justified as a pollution abatement measure.      Infiltration
    rates in the Roanoke Avenue combined sewer do not appear to be high.
    Low flow rates of 0.2 mgd have been recorded.    The low flow rate in
    the Doremus Avenue interceptor was also less than 0.2 mgd. Infiltra-
    tion in these sewers can not be greater than the low flow rates.
    Increased flow rates, apparently indicating additional inflow, were
    recorded during the times of high tide.         In the Wilson Avenue
    interceptor, a low flow rate of 2.1 mgd was recorded.     Much of that
    flow was pumped from the Port Newark area and may largely represent
    infiltration.     Infiltration in the Roanoke Avenue and Doremus Avenue
    sewers was not investigated in greater detail because of its small
    magnitude.     Investigation of the Wilson Avenue interceptor and the
    Port Newark area was not within the scope of this study.    All of the
    sewers discussed are included in the PVSC's Infiltration/Inflow
     Analysis and have been recommended for a sewer system evaluation
     survey.    Any infiltration reduction resulting from this study would
     reduce the anticipated surcharging in the Wilson and Doremu- Avenue
     interceptors but, it is unlikely that the reduction would be
     sufficient to prevent all dry weather flow discharges at Roanoke
     Avenue after flow diversion to the Doremus Avenue Interceptor.




                                          13




                                                                               TSI-DBR-00040214
                                                                              ALCD-PUBCOM 0006872
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 22 of 73 PageID: 9950




    (4) Diversion Works


        Prior to redirecting the Roanoke Avenue flow, the downstream
    sanitary sewers should be cleaned and either the Avenue "P" or the
    Roanoke Avenue regulator should be restored to service.     It appears
    preferable to restore the Roanoke Avenue regulator for several rea-
    sons.   By constructing a collapsible dam or other appropriate water
    level control device downstream of the regulator, an additional 1450
    linear feet of 54-inch pipe would be available to store wet weather
    and peak dry weather flows for later diversion and treatment.       In
    addition, the apparently contaminated groundwater leaking into the
    pipe at the Pitt Consol plant would be diverted to treatment, and the
    24-inch Roanoke Avenue sanitary sewer would not require cleaning.


         The Doremus and Wilson Avenue interceptors are over fifty years
    old, and the preceding analysis assumes these sewers are structurally
    sound and can be cleaned.    This may be incorrect and the existing
    sediment in these lines could preclude redirecting the Roanoke Avenue
    flow, but require the construction of new sewers.     A four step pro-
    gram is recommended for placing the system back in full service.


        (1) Four lengths of the Doremus Avenue interceptor and one
              length of the Wilson Avenue interceptor should be cleaned
               and televised.   About 1000 feet of sewer would be inspected
               at an approximate cost of $6,000.    The following pipe sec—
               tions, designated by the manhole numbers previously des-
               cribed, might be inspected:     D-27 to D-28 (20-inch), D-16
               to D-17 (22-inch), D-9 to D-10 (22-inch), D-3 to D-4
              (24-inch), and W-5 to W-6 (24-inch).


        (2) If the lines initially inspected are structurally adequate
               and in good alignment, the remaining footage may be cleaned
               and televised. If the Doremus Avenue interceptor requires




                                          14




                                                                               TSI-DBR-00040215
                                                                              ALCD-PUBCOM 0006873
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 23 of 73 PageID: 9951




              cleaning, it        estimated that 3000 linear feet of sewer




                             is
              would require bucket machine cleaning and 1600 linear feet,
              hydraulic tool cleaning.      No sedimentation was observed in
              the Wilson Avenue interceptor and no cleaning appears
              required.   The additional cleaning and televising in the
              second step would cost approximately $38,000.


         (3) If the sewers are in acceptable condition, the Roanoke
              Avenue regulator would be restored to service.       The struc-
              ture would be cleaned, new regulator components installed
              and plugs removed from the pipes connecting to the regu-
              lator.   This work would cost approximately $10,000.


         (4) A flow regulating structure would be constructed downstream
              of the regulator at a cost of about $100,000.        The cost of
              the complete restoration program is summarized below:


              Initial Cleaning and Inspection        $    6,000
              Complete Cleaning and Inspection            38,000
              Regulator Repairs                           10,000
              Flow Regulation Structure                  100,000


                                    Total Cost       $154,000


         In addition to providing relief from all dry weather overflows
    from the Roanoke sewer, this program would also divert to treatment
     combined sewage which would otherwise discharge untreated during the
    most frequent rainfalls.      If the existing sewers can not be cleaned,
    new sewer construction would be required to eliminate the bypassing
     at Roanoke Avenue.


         If the dry weather flow in the Roanoke Avenue combined sewer is
    diverted, the Doremus and Wilson Avenue interceptors will c'nerate in
    a surcharged condition.       Peak flow velocities in the Doremus Avenue
    interceptor will be below 2.0 feet per second, and velocities at non-
                                            15




                                                                                  TSI-DBR-00040216
                                                                                 ALCD-PUBCOM 0006874
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 24 of 73 PageID: 9952




   peak times, lower.   Sedimentation should be anticipated in the
   Doremus Avenue interceptor.    This sewer should be inspected on




                                                                        a
   regular basis to monitor sediment build up.    Cleaning on a regular
   basis may be desirable.   Pollutants may be cleaned effectively by low
   volume water flushing.     Heavier sediment would probably require
   hydraulic tools.




                                        16




                                                                             TSI-DBR-00040217
                                                                            ALCD-PUBCOM 0006875
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 25 of 73 PageID: 9953




     D.   Conclusions and Recommendations


          1.   If structurally sound and in good alignment, the existing
               Doremus and Wilson Avenue interceptors should be cleaned
               and used to transport most dry weather flow in the Roanoke
               Avenue combined sewer to the PVSC treatment plant.      How—
               ever, relatively rare dry weather overflows may still
               occur.   These may be eliminated by installing a flow
               routing device in the Roanoke outfall sewer, downstream of
               Doremus Avenue.     The restoration program discussed
               previously should be implemented.        The total cost of
               cleaning, internal inspections and regulator restoration
               work should be approximately $54,000.       The flow routing
               device might cost about $100,000.    Sedimentation in the
               Roanoke and Doremus Avenue sewers should be monitored and
               cleaning operations performed as necessary.     This program
               is recommended as an immediate and temporary solution.    It
               is estimated that the proposed restoration work could be
               completed within six months.      The flow routing device
               installation should require about eight months for
               completion.


          2.   The flow routing device may be part of a long term solution
               for combined sewer overflow pollution abatement which
               should be developed in future studies.


          3.   Reconstruction or paralleling of the existing interceptors
               will be necessary if their structural condition )r align—
               ment precludes redirecting the Roanoke Avenue combined
               sewer flow.   When new sewers are planned, the storage and
               routing of wet weather combined sewer flow must be con—
               sidered along with future industrial expansion and sewer
               system evaluation survey recommendations.    Sizing replace—
               ment interceptors is not possible with the information


                                            17




                                                                               TSI-DBR-00040218
                                                                              ALCD-PUBCOM 0006876
        Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 26 of 73 PageID: 9954
i
1                      presently available.      For estimating purposes, it was

1                      assumed that a 24-inch sewer would be required on Doremus
                       Avenue and a 30-inch line on Wilson Avenue.      The depth of
                       these sewers, high groundwater levels and poor foundation
1                      conditions will increase construction costs.     The proximity
                       of railroad spurs and gas transmission lines to Doremus
1                      Avenue will further increase costs.      An approximate 1978
                       construction cost estimate follows.

1                                                          Length of   1978 Construe-
                                           Pipe Diameter   Sewer in    tion Cost
                                           in Inches       Feet        Estimate

                       Doremus Avenue           24            5400       1,080,000
                       Wilson Avenue            30            1700         510,000
                                             Contingencies                 410,000
                                             Total Construction Cost     $2,000,000


                       Alternatives to the complete reconstruction of both inter-
                       ceptors may be developed when more information is avail-
                       able.   For example, the reconstruction of the Doremus
    r
                       Avenue interceptor may be combined with significant infil-
                       tration/inflow reduction in the Port Newark Area, thereby
                       allowing the existing Wilson Avenue interceptor to remain
                       in service.     Additional studies will be required before the
                       feasible alternatives can be defined and the most cost ef-
                       fective long term solution selected.


                  4.   Industrial pretreatment regulations should be enforced in
                       the tributary area.    The low pH of the Roanoke effluent is
                       a threat to the structural integrity of both sewers and
                       accessories.     The corrosive atmosphere in this sewer at-
                       tacked electrical connections on the flow meter and caused
                       several malfunctions.    The condition of the pipes is not




                                                     18




                                                                                         TSI-DBR-00040219
                                                                                        ALCD-PUBCOM 0006877
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 27 of 73 PageID: 9955

I
I                  known.   It is probable that some deterioration has occurred
                   even though it was not observed in the structures.     Area
                   industries should also be requested to review their inter-
                   nal operating procedures and reduce peak discharge rates to
4                  the extent possible.


              5.   Possible groundwater contamination at the Pitt Consol plant
                   should be investigated.    The firm should be required to

4                  control chemical spillage and, to the extent feasible,
                   clean up spills that have already occurred.   The black tar-


4                  like material found in the sanitary sewers evidently origi-
                   nates at the Pitt Consol plant.   The discharge of this ma-
                   terial should be prohibited.


              6.   The tide gate chambers in the Roanoke Avenue outfall should
                   be cleaned and the gates serviced.   The lump of bituminous
                   material should be removed from the discharge point.




1


I
I
I

1                                             19




                                                                                   TSI-DBR-00040220
                                                                                  ALCD-PUBCOM 0006878
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 28 of 73 PageID: 9956




         IV.   Blanchard Street


I        A.    Physical Inspection Findings


               Blanchard Street is served by separate storm and sanitary se-
         wers.   The 24-inch storm sewer (see Plate 2), constructed in 1917,
         discharges to the Passaic River.         In 1970, the storm sewer was
         extended and the sanitary sewer was rebuilt.       The sanitary sewer con-
         nects to       trunk sewer in Raymond Boulevard.   The sanitary sewer is
                    a
         clogged by grease, tallow, paper and black oily waste.       Several san-
         itary manholes were observed to surcharge and overflow into the
          street.   These overflows usually occurred between 11:00 a.m. and 3:00
          p.m. on weekdays.    The frequency of overflow varies depending on in-
          dustrial discharge rates.    It does not appear to be related to rain-
         fall events.     Overflows were observed at least once a week and were
          noted on ten consecutive weekdays in April 1978.      Intermittent over-
          flows may have occurred during the last few years.       These sanitary
          overflows are a major source of pollutants in the Blanchard Street
          storm sewer.     City forces had been cleaning the Blanchard Street
          sanitary sewer when backups and overflows were reported.       Equipment
          breakdowns and manpower shortages caused a suspension of cleaning
          operations in 1978.


               Prior to cleaning, the storm sewer contained between 1.0 and 1.5
          feet of primarily granular sediment mixed with black oil.       The oil,
          which comes from the overflowing sanitary sewer, coats the inside of
          the pipes and manholes.     Several inlets were filled with debris and
          sediment.     The tide gate is mounted on a headwall on the ri'er bank.
          The gate was being held open by sediment and debris during the first
          field inspection.    The gate appeared to be fully operational after
          City personnel removed the sediment in April 1978.        In subsequent
          inspections floating debris had lodged again under the gate indi-
          cating the need for frequent maintenance.          A continuous waste




                                                20




                                                                                       TSI-DBR-00040221
                                                                                      ALCD-PUBCOM 0006879
                                                   _,.s.~~        m~cmemarlstamc.h9      ritF1   P   'i4iIlYAG~ST.e'imT   i~~~.., ~~.
                              ,—--

Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 29 of 73 PageID: 9957




    discharge was noted.    Dry weather flow rates, varying between 10,000
    gpd and 100,000 gpd were estimated using depth measurements.                            The

    source of this flow appears to be groundwater.           Dry weather flow was
    observed above manhole B-7 only when the sanitary sewer was over-
    flowing or the drainage ditches along the Conrail industrial spurs
    were flooded.


         Inlets B-106, B-107, B-108, B-109, B-110 and B-111 receive flow
    from the railroad spurs and sidings.      The ditches along these tracks
    drain wet lands which were observed to contribute continuous flow for
     up to two weeks during wet periods.     Chemical spillage was observed
     on the tracks and in the adjacent ditches.          The source of the chem-
     icals appears to be leakage from railroad tank cars.          No leaking cars
     were observed, however.         Major spills were noted from the Atlas
     Refinery Inc. railroad siding.      Rain washes some of this spillage
     through the drainage ditches and railroad ballast into the Blanchard
     Street storm inlets.   Since no leaking cars were found on the Conrail
     spurs, it is not possible to link other specific industries to the
     spillage.   Valves may not always be closed when the cars are unloaded
     and chemicals may drip out while the cars are standing on the spurs
     in a totally random pattern.       The Fairmount Chemical Company, the
     Benjamin Moore Company, Atlas Refinery Inc, and the Fiske Brothers
     Refining Company all receive tank cars through this railroad spur.


          Four pipes were observed along the railroad tracks west of
     Blanchard Street.   Two of the pipes drain the Delissa Pallet storage
     area and are not sources of pollution.       The other two are filled with
     earth and appear to be old railroad culverts.             Railroad drainage
     ditches are connected to inlets B-106 and B-108 by pipes.                        The pipe
     at B-108 is clogged with earth; this causes partial flooding of the
     siding during rainfall events.       Leaks were found in the walls and
     under the frames of inlet B-106 and B-107 when the ground was satu-
     rated.   The sanitary sewer is adjacent to inlet B-107 at an elevation
     lower than the leaks observed.         The inlet was inspected in dry


                                             21




                                                                                                            TSI-DBR-00040222
                                                                                                           ALCD-PUBCOM 0006880
      Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 30 of 73 PageID: 9958


-I'
I            weather when the sanitary sewer was surcharged and no leakage was
             observed.   During another inspection made during a rainfall event,
             the sanitary sewer was not surcharged but the inlets walls were
             leaking, implying that the leakage in inlet B-107 is not caused by
             sanitary sewer exfiltration.    Inlet B-106 is on the opposite side of
             the street and has the same type of leakage, implying that the
             leakage is groundwater.



14                  Two minor sources of flow were observed.
             be a significant source of pollution.
                                                               Neither is believed to
                                                        Newark Boxboard Company dis-
             charges a small volume of cooling water into the gutter adjacent to
              their loading dock area.   A sump pump at Fairmont Chemical Company
             intermittently discharges groundwater into the gutter near manhole
             B-6.    The City of Newark is aware of this discharge and had previous-
             ly inspected the facility.     No discharging was observed during the
             field inspections but water was noted along the curb.     The water was
             clear and there was no evidence of chemical contamination.        Algal
              growth was noted in the water along the curb.




E
I
LI
I
0
I
I                                                  22


I
                                                                                         TSI-DBR-00040223
                                                                                        ALCD-PUBCOM 0006881
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 31 of 73 PageID: 9959




     B.   Dry Weather Sampling and Flow Rates.


          Samples were obtained at the following locations:


          B-2    300 feet south of the Passic River
           B-6   1100 feet south of the Passic River
           B-7   1300 feet south of the Passaic River


           Samples were obtained at B-2 and B-6 on May 2, 1978 and at B-2,
      B-6 and B-7 on June 14, 1978.    The May samples were taken two hours
      before low tide with tide water in B-2.          The June samples were
      obtained at low tide while the Passaic River level was below the
      invert of the discharge pipe.       Appendix A shows the results of
      laboratory analysis of the samples.       The May samples show higher
      levels of pollution at B-6 than at B-2 downstream.     This difference
      can be attributed to dilution of the pollutants by tide water at B-2.
      (note chloride concentrations)    There was no tidal flow in the line
      when the June samples were taken.   The pollutant concentrations at
      B-6 and B-7 were similar.       There was a substantial increase in
      pollutants at B-2. This increase may result from leaching from
      abandoned septic tanks in the area.        The sanitary sewer was not
      overflowing and the storm sewer was not receiving flow from the
      railroad drainage ditches when the samples were obtained.     The flow
      rate during both sampling operations was estimated at 50,000 gpd.




                                           23




                                                                                TSI-DBR-00040224
                                                                               ALCD-PUBCOM 0006882
     Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 32 of 73 PageID: 9960
      H

1'
            C.   Smoke Testing

U                Smoke testing of the entire storm and sanitary sewer system was
            planned.    However, the sanitary sewer was surcharged and badly
            clogged with grease so that smoke could not be pumped through it.
            The sanitary sewer could not be dye tested to observe exfiltration
            due to the oil and hardened grease sealing the manholes above the top
            of the pipe.   The entire storm sewer was smoke tested at low tide.
            Smoke did not pass between manholes and was observed only at inlets
            connected to points where smoke was blown in.    It appeared that there
            were blockages or severe misalignments in the storm sewer.    No smoke
            entered industrial facilities and no smoke was observed at roof
            drains.    The absence of smoke in adjacent buildings does not preclude
            the existance of illegal connections with water traps.


I



I
I

I



                                                  24




                                                                                       TSI-DBR-00040225
                                                                                      ALCD-PUBCOM 0006883
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 33 of 73 PageID: 9961




           D.   Television Inspection

I               Illegal connections were suspected downstream of manhole B-7.
           Television inspection was planned for 1250 feet of 24-inch storm
           sewer between manholes B-1 and B-7.    The line required cleaning with
           bucket machines prior to the television inspection.         The bucket
           machine operation encountered obstructions in the pipe which caused
           the buckets to become lodged frequently.    In no single section could
           a 24-inch tool be passed.    Openings varying between 12-inch and L8-
           inch were cleared.   Most of the sediment was removed, but pieces of
           the 24-inch pipe were also brought out in the buckets which caused
           suspension of this operation.    The obstructions encountered could be
           the result of joint misalignments, partial cave-ins and pipe frag-
           ments lodged in the line.    Further cleaning operations could have
           caused collapse of the street.


                Television inspection was attempted without further cleaning.
           Several attempts were made to pull the camera through various por-
           tions of the line.   In every case but one, the camera went under
           water within 10 feet of the manhole and the skids lodged on obstruc-
           tions.   The first 45 feet of line downstream of manhole B-2 were
           visible.   The pipe was cracked and a partial collapse was observed
           approximately 45 feet downstream of the manhole.    Pieces of pipe had
           fallen into the line and the camera could not pass over them.       An
           8-inch connection was found in manhole B-5 below the sediment level
           during the cleaning operations.       This connection was filled with
           sediment and was inactive.    The problems encountered during cleaning
           and television inspections operations are described in greater detail
           in Appendix B.   The 24-inch storm sewer is not structurally sound.
           This sewer was constructed in 1917 and has been subjected to very
           heavy truck traffic for the last several decades.    A partial collapse
           of the street could occur as this pipe continues to deteriorate.

I
                                                 25




                                                                                      TSI-DBR-00040226
                                                                                     ALCD-PUBCOM 0006884
     Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 34 of 73 PageID: 9962




1          E.   Conclusions and Recommendations


                1.   The frequent overflow of sanitary sewage may be considered
                     the most serious source of pollutants found in the storm
                     sewer.   The 2500 linear feet of sanitary sewer should be
                     cleaned to prevent future surcharging and overflows.   Con-
                     tracting this work would cost approximately $10,000.   Area
                     industries should be required to conform to discharge qua-
                     lity standards and cease discharging grease, tallow, paper
                     and oil into the sanitary sewer.   After cleaning, the sani-
                     tary sewer should be dye tested to determine if sewage is
                     exfiltrating into the storm drainage system.


                2.   Industries that receive and ship chemicals in railroad tank
                     cards should be required to control spillage and leakage.
                     All tank car valves should be closed prior to moving the
                     unloaded cars back onto the Conrail spurs.   Atlas Refinery
                     should be required to clean up the spillage at its siding
                     and prevent future spills.


                3.   The 24-inch storm sewer, downstream of manhole B-7, should
                     be replaced.   The problems encountered during the cleaning
                     and television work indicate that the sewer is cracked,
                     misaligned, and partially collapsed in places.     Sizing a
                     new sewer is beyond the scope of this study, however, a
                     30-inch replacement was assumed for estimating purposes.
                     The 1978 construction cost of 1300 linear feet of 30-inch
                     storm sewer, manholes, tide gate chamber, and headwall
                     would be approximately $450,000.   Replacing this sewer will
                     prevent the collapse of the roadway, locate any illegal
                     connections, and eliminate the infiltration of contaminated
                     groundwater.




                                                  26


LI
                                                                                     TSI-DBR-00040227
                                                                                    ALCD-PUBCOM 0006885
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 35 of 73 PageID: 9963




            4.    The existance of illegal connections could not be verified
                  because the condition of the storm sewer prevented internal
                  inspection.    Illegal connections may exist downstream of
                  manhole B-7.   However, because of the age and condition of
                  the 24-inch storm sewer, its proximity to abandoned septic
                  fields and high groundwater in the area, contaminated
                  groundwater is also a probable source of pollutants in the
                  storm sewer.   Pollutants may also be leaching directly into
                  the river.    Further studies should be made of groundwater
                  pollution in the entire study area.


             5.   The Fairmount Chemical Company should be required to redi-
                  rect its sump pump discharge into an inlet.


             6.   The connection found in manhole B-5 should be sealed.




                                             27




                                                                                 TSI-DBR-00040228
                                                                                ALCD-PUBCOM 0006886
     Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 36 of 73 PageID: 9964




         V.    Lockwood Street Outfall

I         A.   Physical Inspection Findings

[l             The storm sewers in Lockwood Street, Lister Avenue, Chapel
          Street, Albert Avenue, Euclid Avenue and the Morris Canal Right-of-
         Way all drain through the Lockwood Street outfall (see Plate 2).
          Drainage from parts of Raymond Boulevard, Ferry Street, and the
          Pulaski Skyway ramp are also connected to the Lockwood Street system.
          Separate sanitary sewers serve the entire area.    All storm manholes
          and inlets in the study area were inspected.      The limits of tidal
          flow were identified and all sources of dry weather flow were iso-
          lated.    Chemical spills at industrial facilities were noted.     The
          Morris Canal storm sewer west of Lockwood Street (LW-8 to MC-11) was
          lamped.


         (1)   Lister Avenue Sewer


               The manholes, inlets and pipes on Lister Avenue were coated with
          a black oily material.     Sediment depth varied between 0.5 and 1.5
          feet.     The source of the oil was spillage at the B-Line Trucking
          Company.    Tank trucks are allowed to drain while parked at this faci-
          lity.     Black oily chemicals flow into inlets on Lister Avenue and
          Esther Street.    The flow into Esther Street is continuous and the
          curb has been broken out to facilitate it.


                  A continuous flow of viscous orange chemicals was observed en-
          tering an inlet on Cornelia Street.    This material came from leaking
          drums stored on the Cellomer Corporation property.    These chemicals
          were entering the Lister Avenue storm sewer.    Intermittent spillage
          of black oily chemicals was noted at the Fiske Brothers Refining
          Company railroad siding and a very small volume of water and oil from
          that industry was being discharged into Esther Street.      Both flows




                                                28




                                                                                     TSI-DBR-00040229
                                                                                    ALCD-PUBCOM 0006887
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 37 of 73 PageID: 9965




I        were entering the Lister Avenue storm sewer.    A cooling water dis-
         charge pipe from Fiske Borthers was found at the inlet on the south-
         west corner of Lockwood Street and Lister Avenue.    A 2-inch + connec-
         tion was found entering inlet LS-10.    Because of its diameter, it is
         improbable that this Line contains wastes.    It was not flowing when
         inspected.   The only building near LS-10 is occupied by the State
         Produce Company.   No dry weather flow was observed upstream of man-
         hole LS-12 and no sources of pollution are suspected above that
         point.


         (2) Morris Canal Sewers


              Continuous flow was observed in the Morris Canal storm sewers
         east and west of Lockwood Street.       The flow in the easterly line
         (LW-8 to MC-105) was traced to the Newark Boxboard Company.       This
         flow was estimated at 0.16 mgd using depth measurements.     The muni-
         cipal swimming pool on Waydell Street was discharging an estimated
         0.07 mgd into the westerly line upstream of manhole MC3.       The car
         wash drains at the Sunoco Station on Raymond Boulevard were found to
         be connected to the storm sewer between manholes MC3 and MC-4.    Per-
         sonnel at Associated Auto Body and Trucks Inc. were observed dumping
         paint into the storm sewer between manholes MC-6 and MC-7.     Manhole
         MC-7 is the limit of tidal influence and no dry weather flow was ob-
         served upstream of that point.   A partial blockage was found in the
         invert of manhole MC-2.   Sediment varying in depth between 0.5 and
         1.0 feet was noted between manholes LW-8 and MC-7.


         (3) Euclid Avenue Sewer


              The flow in the Euclid Avenue storm sewer, estimated at 0.02
         mgd, was traced to the Reddaway Manufacturing Company's cooling water
         discharge at inlet E-104.




                                                29




                                                                                    TSI-DBR-00040230
                                                                                   ALCD-PUBCOM 0006888
        Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 38 of 73 PageID: 9966




Li            (4) Albert Avenue Sewer

I                  Tidal flow was observed in the Albert Avenue storm sewer up to
               manhole A-3.            A minor, intermittent flow of water and oil from
C              Cellomer enters the Cornelia Street gutter and flows to the Albert
               Avenue storm                 However, no dry weather flow was actually ob-
                              sewer.
               served upstream of manhole A-3.
    r
              (5) Lockwood Street Sewer
u
I                  No dry weather flow was observed in the Lockwood Street storm
               sewer upstream of manhole LW-8.         There is no indication of pollutant
               sources above that point.         The cross-connections shown on the sewer
               plans were inspected and found to be sealed.          A railroad drain on the
               south side of the Messinger Trucking and Warehouse Corporation build-
               ing appeared to be connected to the Lockwood Street sanitary sewer.
               Major spillage of chemicals was observed at the Atlas Refinery Inc.
HI             railroad siding.          The eastern portion of this siding drains into
               railroad drainage ditches that are connected to the Blanchard Street

I              storm sewer system.          The discharges from Newark Boxboard, the muni-
               cipal swimming pool, and Reddaway Manufacturing produce a base dis-

I              charge of approximately 0.25 mgd.



0             (6) Lister Avenue Tide Gate


                    There was no evidence of chemical attack or deterioration of the
I              concrete chamber.          Sediment in the invert of the chamber prevents the
               Lister Avenue tide gate from closing completely.          The gate allows in-
I              flow during the rising tide.         Assuming a five foot tidal range and an
               open tide gate, approximately 270,000 gallons of river water enters

I              with each incoming tide, mixes with pollutants being discharged into
               the system and flows back into the river as the tide falls.          A typi-

I              cal diurnal flow pattern at the tide gate is shown on Plata 9.            If



I                                                         30


[1
                                                                                                TSI-DBR-00040231
                                                                                               ALCD-PUBCOM 0006889
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 39 of 73 PageID: 9967




      the tide gates were to close completely, the discharge from the
      system of any polluted flow would be restricted to a relatively short
      period around low tide.


      (7) Lockwood Street Outfall


           An abandoned railroad drain was found connected to manhole LS-1.
      The last 25 feet of the 72-inch outfall was exposed and showed evi-
      dence of chemical attack.   Portion of the crown had completely de-
       teriorated.   The headwall was not deteriorated and there was no evi-
      dence of chemical attack below the spring line of the pipe.




                                           31




                                                                                TSI-DBR-00040232
                                                                               ALCD-PUBCOM 0006890
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 40 of 73 PageID: 9968




     B.   Dry Weather Flow Sampling and Flow Montoring


          Sources of dry weather flow and limits of tidal influence were
     noted during the physical survey.    Those sewers in which flow was
     observed were subdivided for sampling.    The first set of samples was
     obtained on May 2, 1978.    The second set was taken on June 14, 1978.
     The laboratory analysis of these samples is shown in Appendix A.
     Both sets of samples show high levels of pollution on Lockwood
     Street, Lister Avenue, Albert Avenue, and the easterly portion of the
     Morris Canal storm sewer.     The samples in the Euclid Avenue sewer
     fell within water quality standards.     Because of tidal action, it was
     not possible to confirm that all high pollutant readings were caused
     by discharges near the respective sampling points.      A discharge of
     pollutants anywhere in the system within the tidal range could be
     mixed and carried to distant sampling points.     Samples were obtained
     at the following locations.


          LW-O        Lockwood Street Outfall at the Passaic River
          LS-2        Lister Avenue upstream of the tide gate chamber
          LS-4        Lister Avenue upstream of Lockwood Street
          LS-7        Lister Avenue at Joseph Street
          LW-1        Lockwood Street upstream of Lister Avenue
          LW-4        Lockwood Street upstream of Albert Avenue
          LW-7        Lockwood Street downstream of the Morris Canal
          A-1         Albert Avenue at Lockwood Street
          A-3         Albert Avenue at Joseph Street
          E-1         Euclid Avenue at Lockwood Street
          E-104       Euclid Avenue (cooling water connection at inlet)
          MC-1        Morris Canal at Lockwood Street (west side)
          MC-3        Morris Canal 500 ft. west of Lockwood Street
          MC-7        Morris Canal 1400 ft. west of Lockwood Street
          MC-100      Morris Canal at Lockwood Street (east side)
          MC-104      Morris Canal 800 ft. east of Lockwood Strc^_t




                                          32




                                                                                 TSI-DBR-00040233
                                                                                ALCD-PUBCOM 0006891
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 41 of 73 PageID: 9969




I             Euclid Avenue was eliminated from further study because of
         sampling results.    The cooling water discharged at Reddaway
         Manufacturing was sampled at inlet E-104.    The Morris Canal storm
         sewer west of Lockwood Street (LW-8 to MC-11) was eliminated on the
         basis of physical inspection, Tamping and sampling.   The intermittent
         sources of pollution at the Sunoco Car Wash and Associated Auto Body
         have been identified.   The high levels of pollutants detected at
         manhole MC-1 in the May 2 sampling is attributed to these sources.
         Sediment downstream caused flow to pool at manhole MC-7 and remain
          there as the tide went out.   Pollutants from downstream appear to
         have been carried into that manhole by the tide causing the
         contamination detected in the MC-7 sample on June 14.     The 72-inch
         Lockwood Street Outfall was not televised because there was no
         evidence of pollutant sources in the line.       The Benjamin Moore
          Company is the only industry adjacent to the outfall.   Maps provided                =
                                                                                               4
         by the City of Newark show the roof drains from one building
         connected to the outfall.   The Benjamin Moore laboratory is located
         in that building but there are no chemical process facilities.      The
          plant engineer indicates that all other surface and roof drainage is
          pumped directly into the Passaic River.   All other storm sewers in
         which flow was observed were scheduled for television inspection.




                                             33




                                                                                    TSI-DBR-00040234
                                                                                   ALCD-PUBCOM 0006892
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 42 of 73 PageID: 9970




            C.   Smoke Testing


                 The storm and sanitary sewers on Lockwood Street, Lister Avenue,
            Albert Avenue, and the easterly portion of the Morris Canal right-
            of-way were smoke tested.   No problems were observed when the storm
            sewers were tested.   The pipe connecting to manhole LS-1 was found to
            terminate in an embankment along the nearby railroad spur.   This pipe
            may have functioned as a railroad drain before the track elevation
            was lowered; it serves no purpose now.       The effectiveness of the
            smoke testing may have been reduced in the larger storm sewers.
            Blowers were used to force smoke into the pipes under pressure.   The
            volume of the Lockwood Street storm sewer (66-inch) and the number of
            inlet openings reduced the pressure behind the smoke and may have
            prevented it from reaching remote connections.


                 Three inflow sources were detected when the sanitary sewer was
            smoke tested.    All observed roof and area drains at Atlas Refinery
            Inc. were connected to the sanitary sewer.    These drains are a major
            source of inflow and should be reconnected to the storm sewer.       A
            cross connection was found at the intersection of Joseph Street and
            Lister Avenue.   The storm inlet at thy, southwest corner of the in-
            tersection is connected to the adjacent sanitary manhole.    The sani-
            tary sewer elevation is lower than the inlet invert.   Sanitary sewage
            could enter the storm sewer if a blockage occurred.    Smoke also es-
            caped from the site of a demolished building at the southwest corner
            of the Lockwood Street-Albert Avenue intersection. It appears that
            the building connection was not sealed.   No smoke was observed es-
            caping from plumbing vents.   It is probable that all connections to
            the storm and sanitary sewer have line traps which would prevent the
            passage of smoke.


I
L
                                                 34


G
                                                                                      TSI-DBR-00040235
                                                                                     ALCD-PUBCOM 0006893
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 43 of 73 PageID: 9971




          D.     Television Inspection


                 The following lengths of storm sewer were inspected using closed
          circuit television.


                 Lister Avenue           LS-1 to LS-3
                 Lister Avenue           LS-4 to LS-11
                 Lockwood Street         LS-3 to LW-8
                 Albert Avenue           A-1 to A-3
                 Morris Canal            LW-8 to MC-104

I                The inspection of the Lister Avenue line revealed an oil se-
          parator at Atlas Refinery Inc. connected to the 66-inch storm sewer
          approximately 120 ft. upstream of manhole LS-2.            This connection is
          believed to be a major source of pollutants.              There is a railroad
          siding drainage system connected to this oil separator.              Tank cars
          containing chemicals are unloaded at the siding daily and spills are
          frequent.    Much of the spillage is believed to pass through the se-
          parator and enter the Lister Avenue storm sewer.            No other sources of
          flow were found during the television inspection of Lister Avenue.
          Significant settlement was noted between LS-4 and LS-11.             The tele-
          vision camera went under water frequently and came out at inlets and
          manholes.    Most lengths of pipe had settled more than 15 inches.
          Based upon the portions of line that could be seen and the relatively
          recent date of construction (1970), no illegal connections are sus-
          pected.    The pollution in the line results from spillage at B-Line
          Trucking and Cellomer, as well as pollutants washed in by the tide.
          The flow from the Atlas oil separator, immediately downstre'm, could
          cause high pollutant concentrations in the Lister Avenue storm se-
          wer.


                 Several connections were found in the Lockwood Street storm
          sewer between manholes LW-4 and LW-3.            Pipes were located 3', ft., 92
          ft., 104 ft., 133 ft., 143 ft. and 200 ft. downstream of manhole


1                                                     35




                                                                                             TSI-DBR-00040236
                                                                                            ALCD-PUBCOM 0006894
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 44 of 73 PageID: 9972




I         LW-4.     The pipes at 92 ft. and 104 ft. are shown on old plans as
           connections to inlets at the intersection.     These inlets were con-
           nected to the new Albert Avenue storm sewer in 1970.    The pipes at 34
          ft., 143 ft. and 200 ft. appear to be roof or floor drain connections
1          to the Messinger Trucking and Warehouse Corporation building.     There
           are no wastes eminating from this facility.     The connection at 143
          ft. may also be a concrete spall; the pipe could not be seen clearly.
           The connection at 133 ft. comes from the west side of the street in
           the vicinity of the Albert Avenue intersection.      This pipe is not
           shown on the storm sewer plans, but it may be an abandoned inlet con-
           nection.   These connections were not flowing when the pipe was tele-
           vised.

L                 A connection of unknown origin was observed in the Lockwood
           Avenue storm sewer 53 ft. downstream of manhole LW-3.       Inlet con-
           nections were also observed 170 ft. and 183 ft. downstream of LW-3.
           The pipe at 53 ft. connected on the east side and may be from Atlas
           Refinery Inc.   A pipe crossing broken into the crown of the 66-inch
           line and running perpendicular to it was noted at 201 ft.         These
           pipes were not flowing when televised.    A 2-inch + connection located
           approximately 10 ft. upstream of manhole LW-2 has been observed by
           City personnel.    This connection comes from the east side of the
           street and was discharging flow when observed.         This connection
           appeared to originate at Atlas Refinery Inc.


                  Three connections were noted between manholes LW-2 and LW-1 in
           the Lockwood street storm sewer.   Pipes were observed 149 ft., 159
           ft. and 215 ft. downstream of manhole LW-2.     The connection at 159
           ft. is believed to be from an inlet that was removed during con-
           struction of a new building at Atlas Refinery Inc.     The connection at

1          149 ft. appeared to be a large pipe 24-inch + surrounded by roots.
           It could also be a connection crossing the 66-inch line.       The con-
           nection at 215 ft. was from the westerly side of the street.         It




                                                36




                                                                                       TSI-DBR-00040237
                                                                                      ALCD-PUBCOM 0006895
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 45 of 73 PageID: 9973




J          could not be seen clearly and may be a concrete spall.    No flow was
           observed from any of these pipes.


                No improper connections were found in the Albert Avenue storm
           sewer or in the Morris Canal line between manholes LW-8 and MC-104.
           The pollutants detected in the Albert Avenue line appear to have been
           carried in by tidal action.   Two sources of pollutants are suspected
           in the Morris Canal sewer east of Lockwood Street.       The limit of
           tidal influence is downstream of manhole MC-104.     Yet, pollutants
           were detected in the sample obtained at that manhole.         Newark
           Boxboard discharges the flow sampled at MC-104 and that flow is
           polluted.   However, the concentration of pollutants downstream, at
           manhole MC-100, is three times greater than at MC-104.    Some pollu-
           tants may settle into the sediment during the high tide periods. Flow
          from Newark Boxboard may flush some of this material and carry it
           into the Lockwood Street storm sewer.


I
I
I
I
I
I
I
1
1                                              37


I
                                                                                    TSI-DBR-00040238
                                                                                   ALCD-PUBCOM 0006896
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 46 of 73 PageID: 9974




    E.   Conclusions and Recommendations


         1.   Several improvements are required at Atlas Refinery Inc.
              The firm should be required to connect its oil separator to
              the sanitary sewer rather than to the storm sewer. The
              spillage at the railroad siding should be cleaned up and
              procedures developed to prevent future spills.      Roof and
              area drains should be connected to the storm sewer rather
              than to the sanitary sewer as at present.      The plant has
              been expanded several times over the years and complete
              plans of the piping systems are not available.           The
              Lockwood Street storm sewer is located under the sidewalk
              in front of the Atlas plant.      Connections could have been
              made without excavation in the street.        Connections of
              unknown origin between manholes LW-3 and LW-1 appear to
              lead to drains in the Atlas plant complex.     Fiske Brothers
              Refining Company, the industry across the street, is a less
              likely point of origin since they would have had to exca-
              vate the street and cross the sanitary sewer to make con-
              nections to the storm sewer.      Atlas should be required to
              evaluate its piping and identify connections to the storm
              sewer.   Any sanitary facilities, chemical processes, or
              drains that accept polluted flow should be reconnected to
              the sanitary sewer.   Authorized discharges to the storm
              sewer should be made through a manhole or chamber to allow
              monitoring by the City.


         2.   Fiske Brothers Refining Company should be required to cease
              discharging oil and water into Esther Street and to prevent
              spills at their railroad siding.     Fiske Brothers should be
              required to identify existing connections to the storm
              sewer.   Connections that accept pollutants should be re-
              connected to the sanitary sewer.      Connections that carry




                                           38




                                                                               TSI-DBR-00040239
                                                                              ALCD-PUBCOM 0006897
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 47 of 73 PageID: 9975




                    nonpolluted flow should be made through a chamber to fac-
                    ilitate monitoring by the City.


              3.    After Atlas and Fiske Brothers have evaluated their piping
                    and reconnected lines as necessary, the remaining connec-
                    tions of unknown origin between LW-3 and LW-1 should be
                    sealed as a precaution.    Initially, temporary plugs should
                    be installed.    If the lines are active, a backup will be
                    reported.    If no problems occur after one month, the con-
                    nections should be permanently sealed.       The connections
                    observed between LW-4 and LW-3 are believed to be roof
                    drains from the Messinger Warehouse and abandoned inlet
                    connections.    They should not be sealed.


               4.   B-Line Trucking Company should be required to cease dis-
                    charging black oily waste into Lister Avenue and Esther
                    Street.     The spillage that has already occurred should be
                    cleaned up.     This flow is believed to be the major source
                    of black oil in the system.

I              5.   Newark Boxboard Company should be required to evaluate its
                    internal piping.      Only nonpolluted flow should be dis-
                    charged into the Morris Canal storm sewer.     Polluted flow
                    should be discharged into the Blanchard Street sanitary
                    sewer after that line is cleaned.    The City should monitor
                    the flow at manhole MC-104 to assure compliance.


               6.   Associated Auto Body and Trucks, Inc. should be prohibited
                    from dumping paint or other wastes into the Morris Canal
                    storm sewer.


               7.   The car wash drains at the Sunoco Station should be re-
                    connected to the sanitary sewer.    Suitable grit removal and
                    oil separation facilities should be provided.


1                                               39




                                                                                     TSI-DBR-00040240
                                                                                    ALCD-PUBCOM 0006898
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 48 of 73 PageID: 9976




I              8.    Cellomer Corporation should be required to clean up the
                     spillage on their property and cease discharging oil into
                     Cornelia Street.      It should be noted that Cellomer was
                     informed of this problem and cleanup operations were under-
                     way.


               9.    Sources of inflow should be eliminated.   The cross connec-
                     tion at the intersection of Joseph Street and Lister Avenue
                     should be sealed.   The railroad siding drain on the south
                     side of the Messinger Warehouse should be disconnected from
                     the sanitary sewer.    The Atlas roof and area drains have
                     already been discussed.


               10.   The Lister Avenue storm sewer, west of Lockwood Street
                     should be cleaned of debris, sediment and oily wastes.




                                                40




                                                                                    TSI-DBR-00040241
                                                                                   ALCD-PUBCOM 0006899
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 49 of 73 PageID: 9977




       VI.   Brown Street


       A.    Configuration


             The 24-inch Brown Street storm sewer and the adjacent 15-inch
       sanitary sewer are located in the former Brown Street right of way.
       When the street was vacated, the City retained ownership of the storm
       sewer and the PVSC retained ownership of the sanitary sewer.     Before
       the area sewers were separated, the Brown Street line was used as a
       wet weather outfall.     There is an existing regulator at the southerly
       end of the storm sewer and cross-connections to the adjacent sanitary
       sewer are shown on various plans.     The regulator and the cross-con-
       nections were sealed during the sewer separation program.      The pre-
       sent sewer easement passes through the Sherwin Williams plant site.
       An industrial building has been constructed over the northern end of
       the storm sewer.      Two piles were driven through the storm sewer dur-
       ing the construction of this building.      A chamber was built at that
       point to allow flow to pass around the piles.     Several storm drains
       at the plant complex have been connected to the 24-inch sewer.




                                              41




                                                                                   TSI-DBR-00040242
                                                                                  ALCD-PUBCOM 0006900
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 50 of 73 PageID: 9978




     B.   Physical Inspection Findings


          No point sources of pollution were found during the physical
      inspection.    The bulkhead in the Brown Street regulator is not leak-
      ing and the cross-connections to the sanitary sewer are sealed.     No
      evidence of chemical spillage was observed in chemical storage areas,
      parking lots, access roads, or loading dock areas tributary to the
      storm sewer.    The storm sewer is below high tide elevation and ap-
      proximately 15,000 gallons of river water are carried in and out of
      the pipe during each tidal cycle.   No flow was observed upstream of
      the building during low tide.   A discharge of approximately 25,000
      gpd was noted at the bulkhead downstream of the building.    This flow
      rate was visually estimated because there was no direct access to the
      point of discharge.   Personnel from the City of Newark and the PVSC
      have observed flow during the low tide.    The source of this flow may
      be infiltration or a connection from the Sherwin Williams plant.


           The PVSC inspected the storm and sanitary sewers in 1970.      The
      sanitary sewer was televised and dye tests were performed.    This in-
      vestigation was conducted to determine the sources of oil and other
      pollutants entering the sanitary sewer and storm drainage systems.
      Chemicals and oil were found seeping into the sanitary manholes.
      Several leaks were observed when the sanitary sewer was televised.
      The internal inspection of the storm sewer was not successful.       An
      attempt was made to plug the pipe to keep tidal flow out.    Infiltra-
      tion was so severe that the line quickly filled up as the tide rose.
      Debris prevented inspection of the southerly end of the line.       The
      piles made inspection of the pipe under the building impossible. Re-
      pairs were made to the sanitary sewer; the seepage of brown oil was
      eliminated and infiltration was reduced.   The sanitary sewer was dye
      tested and no dye was detected in the storm sewer.          The Sherwin
      William plant engineer cooperated fully during this investigation.
      The plant piping was evaluated and no sources of pollutants were
      found within the building.   The plant engineer also verified that the


                                           42




                                                                                 TSI-DBR-00040243
                                                                                ALCD-PUBCOM 0006901
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 51 of 73 PageID: 9979




      site had been used for chemical dumping in the past.    Lagoon-like
      pools, called stillbottoms, were formed with earth berms and filled
       with the liquid wastes from chemical processes.   After the wastes
      seeped into the ground, the berms were leveled off on top of the
      residue.   The existing plant buildings, chemical storage areas, and
       parking lots are constructed on top of the contaminated ground.   A
      steel bulkhead prevents this material from seeping directly into the
      river.   The PVSC concluded that contaminated groundwater was the
      source of the dry weather pollutants in the Brown Street Storm
      sewer.




                                         43




                                                                              TSI-DBR-00040244
                                                                             ALCD-PUBCOM 0006902
    Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 52 of 73 PageID: 9980




          C.   Dry Weather Effluent Sampling


               The PVSC obtains monthly samples at the storm sewer outfall.
          These samples do not show a continuously contaminated effluent. Ac-
          ceptable samples have been obtained for periods as long as six
          months.   The most polluted sample in the last two years had a COD of
          350 ppm +.    Samples obtained upstream of the building contain lower
          levels of pollutants than those taken at the outfall.      This could
          indicate infiltration of polluted groundwater under the building or
           an intermittent discharge from a source within the structure.     An
           analysis performed during the PVSC inspection in 1970 revealed pe-
           troleum based oil, esthers, and keytones in the groundwater seepage.
           The PVSC laboratory has determined that the pollutants found in the
           Brown Street effluent are not similar to the chemicals presently
           being used at the Sherwin William plant.   Groundwater pollution was
           beyond the scope of this study so no further investigative work was
           performed.   However, the available data strongly suggests contamin-
           ated groundwater as the source of pollutants.   The degree of contam-
           ination depends on groundwater levels, river stage, and tidal le-
           vets.




I
I
I
C                                              44


I
                                                                                    TSI-DBR-00040245
                                                                                   ALCD-PUBCOM 0006903
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 53 of 73 PageID: 9981




     D.   Conclusions and Recommendations


          1.   The source of pollutants in the dry weather storm sewer ef-
               fluent appears to be infiltration of contaminated ground-
               water.    Further investigations of this source were not made
               because groundwater pollution was excluded from the scope
               of this study.    Rehabilitating the existing storm sewer
               would be expensive.    The building constructed over the se-
               wer would make reconstruction impractical in its present
               location.    Piling driven through the existing sewer would
               prevent conventional grouting or relining under the build-
               ing.     A practical alternative might be to abandon, sand
               fill and plug the existing sewer.      Responsibility for a
               replacement sewer to provide drainage for the Sherwin
               Williams Co. plant complex is a matter of negotiation.
               However, this work may not result in benefit to water
               quality since pollutants could still leach to the river.


          2.   The City of Newark should formally request Sherwin Williams
               to certify that there are no connections to the storm sewer
               beneath its factory building.     Sherwin Williams should re-
               ceive copies of all sampling results concerning the Brown
               Street storm sewer.




                                            45




                                                                                TSI-DBR-00040246
                                                                               ALCD-PUBCOM 0006904
     Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 54 of 73 PageID: 9982




Ll          VII. General Recommendations


                 A.   Groundwater pollution in the study area should be investi—
                      gated.   Contaminated groundwater is believed to be a source
                      of pollutants in the Brown Street and Blanchard Street
                      storm sewers and the Roanoke Avenue outfall sewer. Chemical
                      plants have been located in the area for several decades.
                      Septic systems were used to dispose of wastes prior to the
                      construction of sanitary sewers.   Wastes were dumped and
                      allowed to seep into the ground in the Brown Street area.
                      Chemical spillage was noted at several plants during this
                      study.   Groundwater pollution was outside our scope of work
                      and was not investigated in greater detail.       Leaching
                      groundwater from this area may significantly impact on the
                      water quality of the Passaic River after other corrective
                      measures have been completed.


                 B.   Industrial facilities and railroad spurs should be inspect—
                      ed frequently to evaluate housekeeping procedures and iden—
                      tify spillage.   Immediate action should be taken to have
                      industries clean up spillage for which they are responsi—
                      ble.


                 C.   An effective sewer use Ordinance should be enforced to pro—
                      tect the City's investment in its sewer system and the PVSC
                      facility and to provide for a cleaner environment.


                 D.   A regular maintenance program should be developed for tide
                      gates, regulators, and storm drainage systems.       Inlets
                      should be cleaned of sediment and debris.


                 E.   Hazardous conditions exist in the sewers discussed herein.
                      Oxygen deficiencies and explosive atmospheres may exist




I                                                46



I
                                                                                      TSI-DBR-00040247
                                                                                     ALCD-PUBCOM 0006905
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 55 of 73 PageID: 9983




               intermittently although none were detected during this
                study.   An explosion has occurred in the Roanoke Avenue
               combined sewer.   Sewers should be force ventilated during
                all inspection, cleaning and maintenance operations.
                Oxygen content and explosive potential should be monitored
                continuously while personnel are working below ground.    The
                atmosphere may be harmful to breathe even if it is not
                oxygen deficient or explosive.   The effluent and sediment
                may also be hazardous.   Chemicals used at some plants may
                attack the skin on contact and others may be absorbed and
                cause internal damage.   All personnel working in the sewer
                should be equipped with breathing apparatus, protective
                clothing, explosion—proof lights, and safety lines.      Add—
                itional personnel and equipment should be available to
                react to emergencies.




                                          47




                                                                                 TSI-DBR-00040248
                                                                                ALCD-PUBCOM 0006906
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 56 of 73 PageID: 9984




                                APPENDIX A




                              Analytical Test
                                  Results




                                                                        TSI-DBR-00040249
                                                                       ALCD-PUBCOM 0006907
           Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 57 of 73 PageID: 9985


                                                     TABLE 1

                                      ANALYSIS OF STORM SEWER FLOW SAMPLES
                                       (POLLUTANT CONCENTRATIONS IN PPM)

SAMPLING                                                       F.C.
POINT        pH   COD    TOC    BOD     Cl    TURB     TSS     /100M1   PO4    FLAM   EXPLO   TKN   NH4-N



B-2         7.5    148     40    36     447     68       30      -       .09   0      0        24   21
B-6         7.7    228    66     46     286    100      102      -       .12   0      0        47   34
LW-O        7.4    216    165   141     340    100       65      -       .13   0      0       101   93
LW-1        8.4   2456    920   819     232   2700     2404      -       .06   0      0       100   67
LS-2        9.0   3176   1040   696     118   4000     2516     -        .19   0      0       93    63
LS-4        8.8    336   115    133     718    320       67     -        .06   0      0       70    66
A-1         8.7   1000   240    387     110   3200     2876     1800    .19    0      0       40    10
E-1         8.7    24      8      0     180     25       18     1000    .04    0      0        2    0
MC-1        7.6   960     60     36     143     89      423     200     .30    0      0       63    61
MC-100      7.3   232     52     51      23     73       56    38000    1.80   0      0        2    0
MC-7        6.8   460    135    138     255    320       89     100     .40    0      0        9    3

                                       SAMPLES TAKEN ON MAY 2, 1978




                                                                                                         TSI-DBR-00040250
                                                                                                          ALCD-PUBCOM 0006908
      Case 2:22-cv-07326-MCA-LDW Document 291-16
                                       TABLE 2   Filed 01/31/24 Page 58 of 73 PageID: 9986
                                       ANALYSIS OF STORM SEWER FLOW SAMPLES
                                        (POLLUTANT CONCENTRATIONS IN PPM)

SAMPLING                                                                           F.C.
                                                  Cl         TURB    TSS           /100 Ml   TKN            NH4-N        Grease & Oil
POINT        pH     COD     TOC         BOD



                                                   307        178      63            1200     19             16           41.6
B-2          7.2     412     170         450

                                         126       360        344     334               0     20.3           17.1          -
B-6          7.6     135      56

                                                   331        136      51             200     17             16            0
B-7          7.5     150      62         114

                                                   335        168     153               0    106             59.4        300.4
LS-2         7.2    1119     520         486

                                                   517        308     156               0     38             31.5         36.2
LS-4         7.9     408     180         210

                                         443       124       3080    2180             500     23.5            7.56         -
LS-7         7.2    1188     520

                                                              344     684               0    217            164           25.6
LW-1         8.7    6386     560         690       250

                             320         455       644        308     204               0     97             71           22.6
LW-4         8.2     824

                                                              142     323           29000    393            184           66.6
LW-7         5.4    5496    1520        1550      1650

                                         169       859         86     152            6800     27             18                -
A-1          6.9     313      93

                                                               45     196           67000      6                   .7     14.2
A-3          7.3      83      19          35           24

                                                               30      20               0      1.7             0               8.0
E-1          7.3      44      10              0        13

                                                               30              1      100          2               .98             .8
E-104        8.6      36          7           0        14

                                                   141         •27         40        1700              .8          .6          4.6
14C-1        7.1      48      13              0

                                              0        143      18         30          900         0           0               -
MC-3         6.9      44      14

                                                        14     200         -       250,000         1.96           1.8          -
MC-7         5.9     622     195          350

                                          480           24      93     103            4700         2.7            0            -
MC-100       6.7     954      270
                                                                86         85       27,000         1.7            0            -
              7.4     337         96      156           19
MC-104
                                              SAMPLES TAKEN ON June 14, 1978




                                                                                                                                        TSI-DBR-00040251
                                                                                                                                        ALCD-PUBCOM 0006909
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 59 of 73 PageID: 9987




                                        TABLE 3

                                                                SAMPLES
           ANALYSIS OF METAL CONCENTRATIONS IN STORM SEWER FLOW
                          (METAL CONCENTRATIONS IN PPM)

SAMPLING                                                                               Zn
                        Cr        Cu      Fe         Pb       Mg       Mn    Ni   Na
POINT      Cd     Ca

B-2        -     0      -         -        5.6       -        -        -     -    0    -

B-6        -      0     -         -       28.9       -        -        -     -    0    -

                                  -        5.39      -        -        -     -    0    -
B-7        -      0      -

           .03    -      .01      2.4      2.4        .1          21   3.4   .1   -     6
LS-2

           .02    0      .03      -        6.04          .1       21   1.9   .1   -        8
LS-4

                                           7.46      2.1          25   3.1   .1   -    26
LW-1       .07    -      .10      -

                                           4.58      1.9      21       2.6   .1   -    12
LW-7       .20    -      .11      -

                                           5.88          .1   -        -     -    -    -
A-1        -      -      -        -

                                  -              0        0   -        -     -    -    0
MC-1       -      -      -

                             SAMPLES TAKEN ON JUNE 14, 1978




                                                                                               TSI-DBR-00040252
                                                                                               ALCD-PUBCOM 0006910
     Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 60 of 73 PageID: 9988




I
u
                                         Letter From
                               Robinson Pipe Cleaning Company




Ii




                                                                             TSI-DBR-00040253
                                                                            ALCD-PUBCOM 0006911
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 61 of 73 PageID: 9989




                 Robinson Pipe Cleaning Co.
                 Specializing in today's needs for environmental protection.
                 875 North Summer Avenue • Newark, NJ 07104 • (201) 483-3200



      August 22, 1978




      Clinton Bogert Associates
      2125 Center Avenue
      Fort Lee, New Jersey 07024

      Attention:    Herbert L. Kaufman

      SUBJECT:   Television Inspection, City of Newark

      Gentlemen:

      With reference to the above named project, the following is a detailed
      description of the problems we encountered on Blanchard Street, between
      manholes 61 and B7, and Lister Street, between manholes LS11 and LS4.

      Blanchard Street, manholes 37 to 35

      We began cleaning on Blanchard Street between manholes 37 and B5 on July 11.
      1978. A 15 inch bucket was dragged between the manholes with relative ease.
      on the first drag with an 18 inch bucket, the bucket hung approximately 30
      feet from manhole 35.

      July 12, 13, 1978, were spent retrieving the 18 inch bucket and using various
      size slitters to break any hard material that would prohibit the passage of
      buckets.

      July 14 through July 18, 1978, various size slitters and 12 inch and 15 inch
      buckets were used to remove sand, silt, a hard yellowish material, and concrete.
      Because the tidal gate was malfunctioning, sand and silt continued to wash into
      the line.

      On July 18, 1978, we removed segments of pipe and therefore discontinued
      further cleaning.

      Blanchard Street, manholes B5 to B3

      On July 19, 1978, we dragged 12 inch and 15 inch buckets between manholes B5
      and 33 with great difficulty. Because the buckets continued to hang in the
      pipe line, various size slitters were used.




                                    Affiliate of National Power Rodding Corp.




                                                                                      TSI-DBR-00040254
                                                                                      ALCD-PUBCOM 0006912
     Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 62 of 73 PageID: 9990
u
                           ROBINSON PIPE CLEANING COMPANY
I
I
      Clinton Bogert Associates                                     Page 2




      On July 20, 1978, an 18 inch bucket was hung between manholes B4 and 33.
      Between July 21 and July 28, 1978, 12 inch and 15 inch buckets and slitters
      were used to remove sand, silt, a yellowish material and concrete.

       On July 28, 1978, we removed segments of pipe and discontinued further
       cleaning.

       Blanchard Street, manholes 33 to B1

       Between July 31 and August 4, 1978, we dragged various size slitters, 12 inch
       and 15 inch buckets between manholes B3 and Bl. We were only able to drag to
       approximately 15 feet from manhole Bl. The same problems were encountered
       and the same materials were removed that were found between manholes 87 and 33.

       On August 4, 1978, we removed segments of pipe and discontinued further cleaning.

       Blanchard Street, Television Inspection

'5     Manholes:   B7-B6, camera submerged, unable to pass or distinguish blockage.
                   B6-B5, camera submerged, unable to pass or distinguish blockage.
                   B5-B4, the pipe dropped approximately 5 feet from manhole 5 and
                   the line was surcharged. No attempt was made to televise.
                   B4-B2, unable to thread these two sections with the use of high
                   pressure water or power rodding equipment.
                   B2-B1, structural defects, unable to pass.

       Because of the condition of the pipe between manholes B7 and 31, we find that
       television inspection is impossible.

       It is our opinion that the pipe is badly deteriorated and structurally unsound.
       Further work might result in a complete failure.

       Lister Street, manholes, LS11 to SL4

       The major problem on Lister Street between manholes LS11 and LS4 were sags
       that developed pockets of water and grit. Because the camera lens was Sub-
       merged passing through the sags, portions of the pipe line were not able to
       be seen.

       We trust that this meets with your approval.

I     Sincerely,

        BI   N PIPE CLEANING COMPANY


         vatore F. Perri
     "Sales Representative


I     SFP:med



                                                                                       TSI-DBR-00040255
                                                                                       ALCD-PUBCOM 0006913
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 63 of 73 PageID: 9991




                    Robinson Pipe Cleaning Co.
                    Specializing in today's needs for environmental protection.
                    875 North Summer Avenue • Newark, NJ 07104 • (201) 483-3200



          August 22, 1978


          Clinton Bogert Associates
          2125 Center Avenue
          Fort Lee, New Jersey 07024

          Services rendered for cleaning and television inspection in the City
          of Newark, New Jersey, as follows:

          ALBERT AVENUE
          A3-A2                                243'
          A2-Al                                196'
                                               439' @ Lump sum                    $   600.00

          BLANCHARD STREET
          Bl-87                               1245' @ $6.00                           7470.00

          LISTER STREET
          LS11-LS7                             545'
          LS7-LS4                              468'
                                              1013' @ $1.50                           1519.50
          LS3-LS1                              333' @ Lump sum                         600.00

          LOCKWOOD STREET
          8-7                                  245'
          7-5                                  132'
          5-4                                  306'
          4-1                                  721'
                                              1404' @ $1.50                           2106.00

          MORRIS CANAL
          MC104-MC102                          365'
          MC102-MC100                          394'
                                               759' @ $1.50                           1138.50

                                                                                  $1.3434.00




                                      Affiliate of National Power Rodding Corp.




                                                                                                TSI-DBR-00040256
                                                                                                ALCD-PUBCOM 0006914
         Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 64 of 73 PageID: 9992



    I
    I
    I
    I
    Eu
    I
    u
                                           ILLUSTRATIONS
[l
I
I
i
                                                                                TSI-DBR-00040257
                                                                                ALCD-PUBCOM 0006915
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 65 of 73 PageID: 9993

                                                                     E 0
                                                                     6\k

         -                 `       ,                                 2~\ §
                                           ~ \~
                                  |


                                              \                      &&2
                                                                     k8§

             +                         ~
                                       a          ,         -




                                                                (




                                                      .~              .




                                                      ~ \




                       I

                   ~   f
                 ).    t




                                                                    TSI-DBR-00040258
                                                                            ALCD-UBCOM 0006916
Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 66 of 73 PageID: 9994




                                                                                                                                                                                                                                                                                                                            Ms1BwT1U1



                                                                                                                                                                                                                                                                                                                                                   a,. aP M rx axPr Axx rYxcxx rw.


                                                                                            \LY:Jr                       sa                                                                                                                                                                                                 ~                                   o~ceexoxcale.Execcxv.


               \\
                                                                                                                                                                                                                          \ . eexvse                                    I                                                                    wrn x.,
                                                                                                                        ~` F,p                                                                          4                   \                       i6                                                                                                                     ou~sac n=cx
                                                                                                                                                                                                                                                                                                                                                     xxxl~axlor
                         1r jr                                                                                                                                                                                                                                                                                              U
                                                                                                                                                                                                                                                                                                                                            ....    c ,x Er rxnx cEL ox x co
                                                                                                       ~                     \        ~             \                                                                              ~                                                                                                         exrnlxc rxee+a ewxu~Ixa Txucnrxe eoxvAxr
                                                                                                                                                                                          r •y           ~B~''1 '
                                                                                                                                                                                                        Pl' S
                                                                                                                                                                                                                      5
                                                                                                                                                                                                                                                                                                                             O                                     Tx~r FPOn elms xxomexs
                                                                                                                                                                                                                                                                                                                                             wele[xc ~x.axn+
                                                             unrc                                                                                                                                                                                                                                                                                                            x.xlc.~x
                               \~AEMr
                          t
                           3         ~•J                                                                                                                C)
                                                                                                                                                        a              u'1{ ~''`r
                                                                                                                                                                             :'a—~D~IrEo                                                                                                                                                     ex»P.x,xAlaxxnxelxlx~ axo.x. Brrx:xc
                                                                                                                    3            )                               5 eJ- [                                                                           9—
                                                                                                                                                                                                                                                    A„I                                                                                      wlExaAx oulxAcs olTcxes oux[xc xet
                                 I
                                      ~KC-D                                                                                                                                  1\                                                                                                                                             O                wrvxeav xxc conxee.-rex ro sroxx ssxPx?~
                                                                                                                                                                                                                                                                                                                                                                                  w
                                       `   llY                                                          A                                                                        \\                                                                                                                                                          sxrzx[Nc IxCeSs exon xn[em~xo oevtx
                                       .                                                        \P                       er'                                                                                                                                                                                                                                             rxa1 xulrxxY
                                                                                                                                                                                Ls-                                                                                                                                          11
                                                                                                                                                                                                                                                                                                                                             xxxo~ar
                                                                                                                                                                        c                      sa                                                                                                                           O                                          xxr. Exxx xAxlr.xr
                                            r"'                                                                         \1                                                                                                                                                                                                                              xxrex[xw°xl~rJ.
                                                                                                                                                                                                                                                                                                                                                        ex
                                                                      \\i        ~                                                                           ~"'
                                           ~     '~ -6
                                                 \
                                                     \
                                                                            1~
                                                                            ~~Go                                    s'
                                                                                                                          \\ ~
                                                                                                                            \ ~                                         ~
                                                                                                                                                                                  5 ea
                                                                                                                                                                                 -L{
                                                                                                                                                                                  F"'
                                                                                                                                                                                                        -u-J
                                                                                                                                                                                                                                                                                                                            O
                                                                                                                                                                                                                                                                                                                             [I              mxxxrs

                                                                                                                                                                                                                                                                                                                                             miPa+v
                                                                                                                                                                                                                                                                                                                                             s
                                                                                                                                                                                                                                                                                                                                                            XARO! PWI NIMI.nx mrxnxxo
                                                                                                                                                                                                                                                                                                                                                         Dlsc


                                                                                                                                                                                                                                                                                                                                                   eanscew io ams cawea [~
                                            Anra~
                                                                             ~                                                             .s                                ~
                                                                                                                                                                             f ~                                                                                                                                            O                vxPEs ue uxxxan OIIIYIY.
                                                                                 \                                                                      n                                 5_       IB      1(`L61                                                   \                                                       ~I
                                                             \                                                                                                                             ?                              el:fi•                                        \                                                                    [ypr[nwoa zox ~w. ~axlerew ur[ewlxc
                                                                                                                                                                                                                                                                                                                            IJ               npi Iseuoxu.l P
                                                                                     `~                                               1\                                                  y-                        LLSi                                                                                                                     iaiiTxwux e
                                                                                                                                                                                                                                                                                                                                                    os
                                                     '~•~                              \                                                   \\                         ~~•\                     ?                \                                                                                                           ~                          xeowxax~.ecsacruxl
                                                                                                                                                                                                                                                                                                                                                               nr         rvc cowAxr

                          MWK/DN swrENr[+x:                  2 \                 17 1                         {                                 \                1E                                         9              cG'                                                    \                                                                       ca, Exo~e~sx~e eY mxexs ear[xsw
                                                                                                                                                                                      w          6
                                                                      1                     \1                           RIK1NlY           A-/                              9                                [SZ            .-//OE GIE ONMDUr             2                                                                 u                                rx[   axx enxn
                                                                       -1                                               C.WIrDEA                                                                                              J/
                                                                                                1                                                                                                                                      '_c►-___—_                                          •-cw-a
                                 /                                          \~                   \                                                          --          19                                                    — Zx•ep-nLxm .P+Acer a~~Fwe~                                                                  '~               ~Ijr cevxxwil.xaoxnu[x mxseereo ro uuxo,.a
                                                                                                                                  i        cw-+                                                      rr

                                                                             0l"K-~ azr'~                                                                                                            U
                                                                                                                                                                                                     )l                                                                                     11                               0               ,mw caxe.x.-
                                                                                                                                                                                                                                                                                                                                                                   axxx rwox ue xxxa.xW
                                                                                                                                                                                                                                                                                                                                                                      ~cYcwexµa
                                                                                                                  tws                                                                                                                                                                            1


                                                                                            .nc.m                                                                                                                                                                                                                           LII                            sure ruxP .r rATw.wuxT cxan[cu
                                                                                 sv          \ ~.                                                                                                                                                                                                                                            caxexxv.

               LEGEND                                                                                A/C-M/


—~—            SIORM SEWER                                       A[                   `L
                                                                                                           AK_/K         N                                                            I
                                                                                                                                                                                                                       ~K•.15~
               INLET BASINS                                                                -p
                                                                                                                                                                                                                                       C3                                                              2f\
    [s-]       DRAINAGE STRUCTURE NUMBER                                                                                                                                                                  ~B.              D-) Id -6         e-5              9-i           a-3                  d-i         B-,     J Lf
                                                                                                              mlw                                                                                  ( o )l~/                                        --                                       .        EET           Am ale
o              RAILROAD DRAINAGE DITCH
                                                                                                                                                                                                                                                                                           oTREET
                                                                                                                                 a                                                    gd ~Q                               ~j j~         12~ 15            (2                          IZ                   ~~
~J         -   soueces oc ao~uriaN
               PIPES   DE uNIWOWN                                                                                                                                                          to ~~                                                                                                                                         NEWARK POLLUTION                 ABATEMENT
                                                                                                                                           2                                                                                                                                                                                                    FEASIBILITY            STUDY
(.~        .   SUSPECTED 9       .ES OF EEx Lulpn                                                                   '~-
                                                                                                                                           ~~NPao /                                                                                          PLAN

               AlD AABBANDDONED OC NNECTIONS
                                                         w
                                                                                                                                  Q~'
                                                                                                                                                                        ("oe                                                                                                T                                                           SOURCES OF POLLUTION IN STORM
                                                                                                                                                                                                                                                                                                                                         SEWER SYSTEMS ON BLANCHARD,.
               SUIINCR   DESIDNANON NUMBER                                                                                                                                                                                                                                                                                               LOCKWOOD AND BROWN STREETS
      -        GLOM SAMPLING POINT                                                                                                                                                                                                                                                                                                                 ClN10N xWERT ASSOCIATES
                                                                                                                                                                                                                                                                                                                                                                      N.xe
                                                                                                                                                                                                                                                                                                                                                                                  PLATE     2




                                                                                                                                                                                                                                                                                                                                                               ISI—DBR-00040259




                                                                                                                                                                                                                                                                                                                                                              ALCD—PUBCOM 0006917
                        Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 67 of 73 PageID: 9995



     DI[TZOM 54"1
n
r_
z
0
z                                                                                             FLOW RATE IN MG D

O                             O   O   —   —   N   N   W   w        _E
                                                                    . O   O   —   —   N   N   W   W        E O   O   —   —   N   N   W   W        ;    O   O    —   —   N   N    W   W
0
                            p O   U   O   U   0   U   O   U        O O    U   0   U   0   U   0   U        p O   U   O   U   O   U   O   U        O O      (r   O   U   O   jr   O   U
70                                                                 2
-I                                                                 0
                            I                                      x                                       x
V1
N
0                           w                                      CM                                      CM---                                  w
                                                                          —-4
A
            17
                    O
N           z       E       m                                      m
            0       70
                    z
            fTl     r                                         -i                                      f

                     r1
                    f~                                        z                                       Z                                      m                                           Z
            z       n                                         n                                       a
            fC

             C
                    m

                    Q
                           o
                            ®
                                      E-EEi                   n


                                                              N
                                                                   o                                  D
                                                                                                      v
                                                                                                      r
                                                                                                           O
                                                                                                                                             v

                                                                                                                                             N
                                                                                                                                                  oo
                                                                                                                                                  O

                                                                                                                                                                                         D

                                                              tb                                           W                                      W
                    D       W                                      GI                                                                        ti
            r       a                                         CD
            r       ~'                                                                                OD
            N       m
            m       z                                                                                                                             a
            m
            z                                                                                                                                                                                rn r z
                                                                                                           w                                      t0                                                .t
                                                                                                                                                                                             m0     0
                                                                   _~                                      ~                                      r                                          r Z
                                                                                                                                                                                                    rn
                                                                                                           _                                                                                        z
                           i                                       z                                       ~
                                                                                                           Z                                      i                                            aDm
                                                                                                                                                  i                                          to
v                          1                                       -4                                                                             -4                                         -I n
r                                                                                                                                                                                            0
                                                                                                                                                                                             o m
m
Cu




                                                                                                                                                                                         TSI-DBR-00040260
                                                                                                                                                                                          ALCD-PUBCOM 0006918
                       Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 68 of 73 PageID: 9996



     wfTZGSN   54641

A
z
0
z                                                                                     FLOW RATE IN M G D
•
0                                                                                                                                          N   N   (   U1
a                                    6 p   cn   O   to   O   iA   O   iA        p O    U   O   cr O   i"   O   it
                                                                                                                          O
                                                                                                                        O O
                                                                                                                              0
                                                                                                                              in
                                                                                                                                   —
                                                                                                                                   O
                                                                                                                                       —
                                                                                                                                       a   O   6   O   U
                                     =                                          Z                                       Z
w                                                                               0                                       6
4                                    6
                                                                                -                                       1
1A
to
Q                                    w                                          w

                       xl

                       D     -       o.                                         a.
                       z     c
                       O
                       ~     z
                       r.,   r
                                     ,o                                    c                                                                                a
                             rn                                            Z                                                                                v
                       P1    g                                             n                                        p                                       <
                       z     ,.                                            `
                       C     G7      Z                                     n    Z                                       z                                   v
                       nl    m                                                                                          O
                                     O                                          O                                       O
                                     Z                                          Z
                       O                                                   r                                        r   Z
                       C     0                                             p


                                     tN                                         W                                   W   W                                   CD
                       D     M                                             co
                       r     D
                       r     ~
                             m
                       Ill       J


                       P1    "'                                                                                                                                  m0
                                                                                                                                                                 rn ~ C)
                                     +o-                                                                                                                         (fl
                                                                                                                                                                 0
                                                                                                                                                                 00 0
                                                                                                                        s                                        rz m
                                                                                                                                                                        z
                                                                                z                                       z                                        -c     m
                                                                                                                                                                        f
v                                                                                                                                                                       n
r
                                                                                                                                                                 vm
                                                                                                                                                                 -C z
m




                                                                                                                                                                 TSI-DBR-00040261
                                                                                                                                                                  ALCD-PUBCOM 0006919
-                         -   Case 2:22-cv-07326-MCA-LDW
                                 No*    ON"   EEEEro Ono
                                                         Document
                                                             Now
                                                                  291-16 FiledI 01/31/24
                                                                                  ■
                                                                                         - Page 69 of 73 PageID: 9997
                                                                                                W.     "-.a                                                                                                  r...r.   ~..
                                                                                         Mrr                                                                                   w......




           DIETZGEN $4141
    (- I

    Z
    4
    0
    Z
                                                                                        FLOW RATE IN M G 0

    0
                                    O Q   =   IV          00       -   I) Vl   A   IT    O1   -I             O       =   N   W   O   U       Of   -'        C0   =    N    W    A   it   O   •
                                                                                                                                                                                             -1
                                    Z
                                    Cf                                                                  z
                                    S                     Z                                             2


    N
    0                                                     w                                             w                                                   w
                                                                                                                                                                 HIGH
    4                                                                                                                                                            TIDE
                              O                                                                                      HIGH
    Iw              O
    (0                                                                                                  °i_
                    m         C     ®+                    0    - HIGH                                            - TIDE
                    rn        Z           HIGH                     TIDE
                    C                    -TIDE                 -
                    fA                               _
                              rn
                    D         rn                     c                                             z                                                   u,
                    rn        y                      "'                                            U,                                                  n
                    Z         C)                     >    z                                        D    z                                                   Z                                      -<
                              m     z                -<
                    C               0                     o                                             o                                -             ;    o
                    rn        -s1
                                    z                     z                                             z                                                   z                                      na
                              0                      n
                                                     -<                                        _   D             -                                     N
                    z                                 A                                            W
                              0                                                                                                                        t0
                                                     cp                                            c0                                                                                              GD
                              D     w                                                              m
                    '.D                               W   w
                                                                                                                                                                 HIGH
                    rn        m                                                                                                                                      IDE
                    "~        Z1                                                                        A+           HIGH
                                    01                    m                                                                                                                                                  0
                    Q         EM                                                                                     TIDE                                                                                    p
                                                                   HIGH
                                          HIGH                     TIDE                                                                                                                                 mr        z
                                          TIDE                                                                                                                                                               C


                                                                                                                                                                                                        r` Z
                                    Q
                                                                                                                                                            o
                                                                                                        z                                                   z                                            ~
                                    z                     z                                                                                                                                                  m
                                                                                                                                                                                                        CM
                                    i                     =
                                    -4                    -4                                                                                                                                                 rn
    r                                                                                                                                                                                                   C
                                                                                                                                                                                                        vm
    m




                                                                                                                                                                                                  TSI-DBR-00040262
                                                                                                                                                                                                  ALCD-PUBCOM 0006920
                           Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 70 of 73 PageID: 9998
      _                                                                      ■~                                                                      ►                               lip          i►                 t        mil      ►



     DI(TZG(N   54641

A
                                z
                                0
                      l.— 1
                        •m
0                 .my=am
                      O m '!
                  ~a ll o~
                                                                                                                FLOW RATE IN MGD
                  Z pp=
O                          In
                  =n       In
0                                                                                                                                              ---



H!                         y        00—     N    cg   £   tP   m   -1   OD   t0   O   —        0    O   -   m   (   A   Ua   O   -1   m   i0   0—            00—N            W   A   U   O   ,1   aD   cD   p
                  ro c
                      m    w                                                                                                                                 O
                                    O                                                          Z
                      1    =        =                                                          S                                                             2
P.
IA
IA
0                          o        W                                                          W                                                             W
A

m         D
N                 v
                  C                                                                            rn                                                            m    --------




                                                                                                         TID                                                        HIGH
                                             H             _                                                                                                         ID
          N
                 P1                       TIDE                                            C    cD                                                        n
                 m                         ----
          G
          in     A
          c      m                                                                        y    O                                                     "<      O
                                    ®
                                    o
          m                         Z                                                          z                                                         V   2
                 ®                                                                        N                                                                                                                     UI
          Z                                                                               W                                                              N                                                      t0
                                                                                                                                                                                                                OD
          in                                                                              s0
                                    W                                                                                                                        W
                                                                                          m                                                              v
          n
          m

          o                                                                                                                                                  a+                                                               O
                                                                                                                                                                                                                         -n
                                                                                                                                                                                                                                   7
                                                                                                                                                                                                                         rn
          -

                                                                                                         HIGH                                                       HIGH
                                          HIGH
                                                                                                         TIDE                                                co     TIDE
                                          TIDE                                                                                                                                                                           r    z

                                                                                                                                      III                         iiiiiIiiiii                                            E
                                    v
                                    2
                                        iII[i1Iiii                  ii__                       o
                                                                                               Z
                                                                                               0
                                                                                                        iiiIIII                                              o
                                                                                                                                                             z
                                                                                                                                                                                                                         N D
                                                                                                                                                                                                                         --I
                                                                                                                                                                                                                             D
                                                                                                                                                                                                                             In
                                                                                                                                                                                                                             —I


                                    3                                                                                                                        -                                                           C:
                                                                                                                                                                                                                         -<m
                                                                                                                                                                                                                            z
                                                                                                                                                                                                                              -1




                                                                                                                                                                                                                TSI-DBR-00040263
                                                                                                                                                                                                                ALCD-PUBCOM 0006921
                         Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 71 of 73 PageID: 9999



      OIETZQEM   S4•41
A
r
z
..4
0
                                                                 I           I
•
0
a
m

                                                    ■■■■M,■1                ■■ME■Nu           ■...■.til
m
4
                                   ___
N
0
A                                                                                             uuui
                                   ~../.M..1        ....M~■1                ■■.■■oio          MEMO 101
                                   ■■NFAMONI        ■■■..IA■I               ■■■■.. UI
                                                                                              ■■.■ ' IU1
N                            -                                                                MONO IlI
                              •
                 •           •     ■N/:■■■.1        ■O■ . ■ 21   ■■■■omal                     MEMO I~1
                                   ■MIIO■EOI        MENU tNII    imomemal                     NEON lei
                                   .OI.■RROI :      ■■■ L. Mimi •  M■..■I -                   ME■     II1 .
                             •                      ■■.    ■u1 -        ...a~ .
                                  • ■/■■■■I -                        I`   Iii               .    ■■■.iii .
                                    NM ...l .          ii ii   = , ■■■.r.i                  - ■O■■UII11
                                    .__ i...I    W■M.i ■1        MEMO         .l .            ■E■■■■II~1
                                    ■O■uIM.OI .. .0   ■MI■i .. .O■O ' of                      ■.MM■<l11 ..
                         •




                                    ■■■11■■.1    ■■■N ■►■i       ■■■■           ~ ..          •uuuaiu
                                    ■N■//M■.1    ■OR■■uel                                     ■EM.■■In1
                                    ■■.■■■.I     ■■■■■■          ■■■■ . II■I                  ■■■■■■i■i
                                                                 MEN          ION
                             •
                                    ■.I I■■.■1
                                                         ii MOON
                                                 ■O■■■O!il                     NU             s.NMMMMI
                                                 .•E.MNi■I       ■■ORE/ au                    ■■■.MOt 1
                                  • ■■NIE■NEI ■■O.M/NI ■■■■O■N1
                                       NIEMNMI
                                                                       ■SONIC                 •n•••  ii
                                    ■RuI■■N■1    ■■■■.Efk:                                    ME.
                                                                        •




                                    OMsIOO■■1    ■■■■■EEl          ► , moma1
                                  " ■N~~NRRN1 " .N.M~~~.~                   __m__..a.         "M■■MI-u
v
r

m




                                                                                                                TSI-DBR-00040264
                                                                                                                 ALCD-PUBCOM 0006922
                           Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 72 of 73 PageID:
                                                             10000


     D►IITMCON S4141
A
z
4
0
                                                                   FLOW RATE IN MG D
z
•
O
                                                               O    — N W 1. U 0)           00
                                                          0
                                    0                     0         I     f                 G1
                                                                                                 HIGH
                                    1                     -
                                                          =1
                                                                                                 TIDE
N                                                                  HIGH
IA                                                                 TIDE
                                    w     HIGH            w
                                           ID


                              O
                       r      C
                              ,
                              z
                       O      D
                       z      r
                              cn    w--              -        D---                --                    N
                              m                      z                                 z                Ai
                                                     o
                       Z      0     z
                                                     <
                                                          z
                                                                                       P
                                                                                       K    z
                                                                                                        o

                       ri     -fl   0                >
                                                                                            z




                                                                                            o
                                                          o
                                                                                       <
                              r     z
                                        ---
                                                     N
                                                     '9
                                                          2                            N
                              ®                                                                  HIGH
                              mo                     w+




                                                                                                        r
                       m            w                     W
                                                                   HIGH                `e
                                                                                       gp   cp
                                                                                                 TIDE
                                                                                                        iD
                              D          HIGH                      TIDE
                       m                 TIDE
                       v      rn

                       O      z
                       X      to                                                                                0
                                                                                                              rn-       (;
                                    0                     +v                                                            -i
                                                                                                              m
                                                                                                               O 0
                                                                                                              rz
                                                          i                                 z                 -t




                                                                                                                        z
                                                                                                                        rn
                                                          e'                                _                      D
                                                                                                              c
-o                                                                                                                 rn
r                                                                                                             C
                                                                                                              v rn
rn




                                                                                                                   z
                                                                                                             TSI-DBR-00040265
                                                                                                             ALCD-PUBCOM 0006923
                              Case 2:22-cv-07326-MCA-LDW Document 291-16 Filed 01/31/24 Page 73 of 73 PageID:
                                                                10001


      DIETZGEN 54841
n
z
0
                          0       1   2    3       4   5       S   7      B     9   10      11   12   13   14   15    16     7    1®   I9    20   21   22     23 -2 4
z
                      5
O
                                      RISING   TIDE                                                        RISING    TIDE
w
                      4


IA
to               3
                 0 3
O                J
                 IL
A                2
                 J
M                O
                                                                          --                                           ---
fA               I-



             0
                                                                        HIGH TIDE                                                      BASE DISCHARGE
                                                                                                                                       0.25MGD
             z
            I-
            I-


                                                           _           ___j_\                         -
             0
             J
                                                                                                                lOW TIDE

                 ID
                 ID' 2


                 U

                 O    3

                                                                                                                                                                              O
                      4
                                                                                                                                                                           rn r
                                                                                                                                                                           nc
                                                                        FALLING     TIDE-                                                   FALLING    TIDE                _W o
                      5                        ,
                                                                                                                                                                           r z
                          0   I       2    3                   6         8          1O      II   12   I3   I4   15     16    I7   I8   I9    20   2I   22     23   24          1 >D
                                                                                      TIDAL CYCLE HOUR
                                                                                                                                                                           N
I-
 p.                                                                       FLOW RATES AT THE                                                                                v
rn




                                                                                                                                                                                m
                                                                   LISTER AVENUE TIDE GATE CHAMBER                                                                         -`




                                                                                                                                                                        TSI-DBR-00040266
                                                                                                                                                                        ALCD-PUBCOM 0006924
